Case: 4:21-cv-01329-MTS Doc. #: 1 Filed: 11/10/21 Page: 1 of 58 PageID #: 1




                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF MISSOURI

STATE OF MISSOURI,
STATE OF NEBRASKA,
STATE OF ARKANSAS,
STATE OF KANSAS,
STATE OF IOWA,
STATE OF WYOMING,
STATE OF ALASKA,
STATE OF SOUTH DAKOTA,
STATE OF NORTH DAKOTA, and                     No. _________
STATE OF NEW HAMPSHIRE,

                Plaintiffs,

   v.

JOSEPH R. BIDEN, JR.,
in his official capacity as the President of
the United States of America;
THE UNITED STATES OF AMERICA;
UNITED STATES DEPARTMENT OF
HEALTH AND HUMAN SERVICES;
XAVIER BECERRA in his official
capacity as Secretary of the United States
Department of Health and Human Services;
CENTERS FOR MEDICARE AND
MEDICAID SERVICES;
CHIQUITA BROOKS-LASURE in her
official capacity as Administrator for the
Centers for Medicare and Medicaid
Services;
MEENA SESHAMANI in her official
capacity as Deputy Administrator and
Director of Center for Medicare;
DANIEL TSAI in his official capacity as
Deputy Administrator and Director of
Center for Medicaid and CHIP Services;

                Defendants.
   Case: 4:21-cv-01329-MTS Doc. #: 1 Filed: 11/10/21 Page: 2 of 58 PageID #: 2




                                         COMPLAINT

   1. Plaintiffs, the States of Missouri, Nebraska, Arkansas, Kansas, Iowa, Wyoming, Alaska,

South Dakota, North Dakota, and New Hampshire bring this action to challenge the Centers for

Medicare and Medicaid Services’ (“CMS”) Interim Final Rule with Comment Period (“IFC”)

entitled “Medicare and Medicaid Programs; Omnibus COVID-19 Health Care Staff Vaccination.”

86 Fed. Reg. 61,555 (Nov. 5, 2021). That IFC, also referred to as the “CMS vaccine mandate,”

imposes an unprecedented federal vaccine mandate on nearly every full-time employee, part-time

employee, volunteer, and contractor working at a wide range of healthcare facilities receiving

Medicaid or Medicaid funding.

   2. The CMS vaccine mandate threatens with job loss millions of healthcare workers who

risked their lives in the early days of the COVID-19 pandemic to care for strangers and friends in

their communities. The Plaintiff States seek to end this dragooning of our States’ healthcare

heroes.

   3. Critically, the CMS vaccine mandate also threatens to exacerbate an alarming shortage of

healthcare workers, particularly in rural communities, that has already reached a boiling point.

Indeed, the circumstances in the Plaintiff States—facts that CMS, which skipped notice-and-

comment rulemaking, did not fully consider—foreshadow an impending disaster in the healthcare

industry. By ignoring the facts on the ground and unreasonably dismissing concerns about

workforce shortages, the CMS vaccine mandate jeopardizes the healthcare interests of rural

Americans.

   4. This case illustrates why the police power over compulsory vaccination has always been

the province of—and still properly belongs to—the States. Vaccination requirements are matters

that depends on local factors and conditions. Whatever might make sense in New York City, St.


                                                2
   Case: 4:21-cv-01329-MTS Doc. #: 1 Filed: 11/10/21 Page: 3 of 58 PageID #: 3




Louis, or Omaha could be decidedly counterproductive and harmful in rural communities like

Memphis, Missouri or McCook, Nebraska. Federalism allows States to tailor such matters in the

best interests of their communities. The heavy hand of CMS’s nationwide mandate does not. This

Court should thus set aside that rule as unlawful agency action under the Administrative Procedure

Act (“APA”), 5 U.S.C. §§ 701–706.

                                             PARTIES

   5. Plaintiff State of Missouri is a sovereign State of the United States of America. Missouri

sues to vindicate its sovereign, quasi-sovereign, proprietary, and parens patriae interests.

   6.   Eric S. Schmitt is the 43rd Attorney General of the State of Missouri. Attorney General

Schmitt is authorized to bring actions on behalf of Missouri that are “necessary to protect the rights

and interests of the state, and enforce any and all rights, interests, or claims any and all persons,

firms or corporations in whatever court or jurisdiction such action may be necessary.” Mo. Rev.

Stat. § 27.060.

   7. Plaintiff State of Nebraska is a sovereign State of the United States of America. Nebraska

sues to vindicate its sovereign, quasi-sovereign, proprietary, and parens patriae interests.

   8. Douglas J. Peterson is the Attorney General of Nebraska. Attorney General Peterson is

authorized to bring legal actions on behalf of the State of Nebraska and its citizens.

   9. Plaintiff State of Arkansas is a sovereign State of the United States of America. Arkansas

sues to vindicate its sovereign, quasi-sovereign, proprietary, and parens patriae interests.

   10. Leslie Rutledge is the Attorney General of Arkansas. Attorney General Rutledge is

authorized to bring legal actions on behalf of the State of Arkansas and its citizens.

   11. Plaintiff State of Kansas is a sovereign State of the United States of America. Kansas sues

to vindicate its sovereign, quasi-sovereign, proprietary, and parens patriae interests.


                                                  3
   Case: 4:21-cv-01329-MTS Doc. #: 1 Filed: 11/10/21 Page: 4 of 58 PageID #: 4




    12. Derek Schmidt is the Attorney General of Kansas. Attorney General Schmidt is authorized

to bring legal actions on behalf of the State of Kansas and its citizens.

    13. Plaintiff State of Iowa is a sovereign State of the United States of America. Iowa sues to

vindicate its sovereign, quasi-sovereign, proprietary, and parens patriae interests.

    14. The Attorney General of Iowa is authorized and required to prosecute legal actions on

behalf of the State of Iowa and its citizens when requested to so by the Governor.

    15. Plaintiff State of Wyoming is a sovereign State of the United States of America. Wyoming

sues to vindicate its sovereign, quasi-sovereign, proprietary, and parens patriae interests.

    16. Bridget Hill is the Attorney General of Wyoming. Attorney General Hill is authorized to

bring legal actions on behalf of the State of Wyoming and its citizens. Wyo. Stat. Ann. § 9-1-

603(a).

    17. Plaintiff State of Alaska is a sovereign State of the United States of America. Alaska sues

to vindicate its sovereign, quasi-sovereign, proprietary, and parens patriae interests.

    18. Treg Taylor is the Attorney General of Alaska. Attorney General Taylor is authorized to

bring legal actions on behalf of the State of Alaska and its citizens. The Attorney General is acting

pursuant to his authority to bring any action which he thinks necessary to protect the public interest

and to represent the State of Alaska in any suit to which it is a party. Alaska Stat. § 44.23.020(1),

(3), (9).

    19. Plaintiff State of South Dakota is a body politic created by the Constitution and laws of the

State; as such, it is not a citizen of any state. This action is brought by the State in its sovereign

capacity in order to protect the interests of the State of South Dakota and its citizens as parens

patriae, by and through Jason R. Ravnsborg, the Attorney General of the State of South Dakota.

The Attorney General is acting pursuant to his authority to appear for the State and prosecute any


                                                  4
   Case: 4:21-cv-01329-MTS Doc. #: 1 Filed: 11/10/21 Page: 5 of 58 PageID #: 5




civil matter in which the State is a party or interested when, in his judgment, the welfare of the

State demands. S.D. Codified Laws §1-11-1(2).

    20. Plaintiff State of North Dakota is a sovereign State of the United States of America. North

Dakota sues to vindicate its sovereign, quasi-sovereign, proprietary, and parens patriae interests.

    21. Wayne Stenehjem is the North Dakota Attorney General. Attorney General Stenehjem is

authorized to bring legal actions on behalf of the State of North Dakota and its citizens. N.D. Cent.

Code 54-12-02.

    22. Plaintiff State of New Hampshire is a sovereign State of the United States of

America. New Hampshire sues to vindicate its sovereign, quasi-sovereign, proprietary, and parens

patriae interests.

    23. The Attorney General of New Hampshire is authorized to bring legal actions on behalf of

the State of New Hampshire and its citizens.

    24. Collectively, the States of Missouri, Nebraska, Arkansas, Kansas, Iowa, Wyoming, Alaska,

South Dakota, North Dakota, and New Hampshire are referred to herein as the “Plaintiff States.”

    25. Defendants are United States governmental officials and agencies responsible for adopting

and implementing the CMS vaccine mandate.

    26. Defendant Joseph R. Biden, Jr., is the President of the United States of America. He is

sued in his official capacity.

    27. Defendant United States Department of Health and Human Services (“HHS”) is an

independent federal agency.

    28. Defendant Xavier Becerra is the Secretary of HHS. He is sued in his official capacity.

    29. Defendant CMS is part of HHS.




                                                 5
   Case: 4:21-cv-01329-MTS Doc. #: 1 Filed: 11/10/21 Page: 6 of 58 PageID #: 6




    30. Defendant Chiquita Brooks-LaSure is the Administrator for the Centers for Medicare and

Medicaid Services. She is sued in her official capacity.

    31. Defendant Meena Seshamani is the Deputy Administrator and Director of the Center for

Medicare. She is sued in her official capacity.

    32. Defendant Daniel Tsai is the Deputy Administrator and Director of the Center for Medicaid

and CHIP Services. He is sued in his official capacity.

                                  JURISDICTION AND VENUE

    33. This Court has jurisdiction pursuant to 5 U.S.C. §§ 702–703 and 28 U.S.C. §§ 1331, 1361,

and 2201.

    34. This Court is authorized to award the requested declaratory and injunctive relief under

5 U.S.C. §§ 702 and 706, 28 U.S.C. §§ 1361 and 2201–2202, and its inherent equitable powers.

    35. Venue is proper in this district pursuant to 28 U.S.C. §§ 1391(b)(2) and 1391(e).

Defendants are United States agencies or officers sued in their official capacities. Plaintiff State

of Missouri is a resident of this judicial district, and a substantial part of the events or omissions

giving rise to this case occurred within this district.

    36. The Plaintiff States bring this action to redress harms to their sovereign interests, their

quasi-sovereign interests, their proprietary interests, their interests as parentes patriae, and their

interests under 5 U.S.C. § 702.

                                   GENERAL ALLEGATIONS

                The National Healthcare Worker Crisis and the Plaintiff States

    37. For many years now, beginning long before the COVID-19 pandemic and reaching now

all the way forward to the present, the healthcare industry in the United States has been

experiencing severe workforce shortages.


                                                   6
   Case: 4:21-cv-01329-MTS Doc. #: 1 Filed: 11/10/21 Page: 7 of 58 PageID #: 7




   38. Like the rest of the nation, Missouri is experiencing a healthcare worker shortage. A recent

study by the Missouri State Board of Nursing and the University of Missouri shows that 97 of

Missouri’s 114 counties have a nursing shortage. Lori Schneidt, Anne Heyen & Tracy Greever-

Rice, Show Me the Nursing Shortage: Location Matters in Missouri Nursing Shortage, 12 J.

Nursing Reg. 52 (2021); see also Press Release, University of Missouri, Nursing Shortage affects

rural Missourians more, MU study finds (June 24, 2021), available at https://showme.

missouri.edu/2021/nursing-shortage-affects-rural-missourians-more-mu-study-finds/ (last visited

Nov. 9, 2021). In addition, rural areas in Missouri have about 40% fewer nurses than metropolitan

areas. Id.; see also Missouri State Board of Nursing, 2020 Missouri Nursing Workforce Report

(2021), available at https://pr.mo.gov/boards/nursing/2020-workforce-report.pdf (last visited

Nov. 9, 2021).

   39. As of January 2021, Missouri had a staff nurse vacancy of 12% with 4,894 vacant staff

nurse positions. Missouri Hospital Association, 2021 Workforce Report (2021), available at

https://www.mhanet.com/mhaimages/Workforce/2021/2021_WF_report.pdf (last visited Nov. 9,

2021). Additionally, staff nurse turnover is the highest it has been in 20 years at 18.1%. Id. The

combined turnover rate among all healthcare professions is 21.5%. Id.

   40. The president of eight SSM Health St. Louis-area hospitals, Jeremy Fotheringham, has

stated on the record that the nursing shortage in Missouri is “severe” with about 80 out of his 5,500

system nurses leaving each month. Pandemic Making Nursing Shortage a Crisis in St. Louis,

Associated Press (Oct. 4, 2021), https://www.usnews.com/news/best-states/missouri/articles/

2021-10-03/pandemic-making-nursing-shortage-a-crisis-in-st-louis        (last   visited   Nov.     9,

2021). Likewise, Mercy is losing about 160 out of 8,500 system nurses each month. Id.




                                                 7
   Case: 4:21-cv-01329-MTS Doc. #: 1 Filed: 11/10/21 Page: 8 of 58 PageID #: 8




    41. Nurses are leaving their positions because they are burnt-out from the COVID-19

pandemic or they are attracted to the increased demand and inflated hourly rates of travel

nursing. Michelle Munz, St. Louis-area hospitals face staffing crisis as burnout and high

‘traveler’ salaries cause nurses to leave (Oct. 4, 2021), https://www.stltoday.com/news/local/

metro/st-louis-area-hospitals-face-staffing-crisis-as-burnout-and-high-traveler-salaries-cause-

nurses/article_26ad26f2-8c3a-50a6-8ddf-1253bf745d86.html (last visited Nov. 9, 2021). Fother-

ingham says, “A year ago, there were about 2,000 open traveler positions across the U.S. They

have since ballooned to 30,000.” Id. This boom in demand for travel nurses is especially difficult

for smaller, rural hospitals who cannot afford to pay their nurses more to stay nor can they afford

the exorbitant rates of travel nurses. See Leticia Miranda, Rural hospitals losing hundreds of staff

to high-paid traveling nurse jobs (Sept. 15, 2021), https://www.nbcnews.com/business/business-

news/rural-hospitals-losing-hundreds-staff-high-paid-traveling-nurse-jobs-n1279199 (last visited

Nov. 9, 2021).

    42. Just a few months ago, on August 27, 2021, Missouri Governor Michael L. Parson signed

Executive Order 21-09 declaring a targeted State of Emergency for Missouri’s healthcare

system. Mo. Exec. Order 21-09 (Aug. 27, 2021), available at https://www.sos.mo.gov/library/

reference/orders/2021/eo9 (last visited Nov. 8, 2021). The Order, which remains in effect until

December 31, 2021, declared that “a state of emergency exists relative to staff shortages in the

State’s healthcare system and the State’s recovery efforts from the COVID-19 public health

threat.”

    43. The Order suspended “certain statutory and regulatory provisions related to telemedicine”

and vested state agencies, executive boards, and commissions with “authority [1] to waive or

suspend statutory or regulatory requirements, [. . .] where strict compliance would hinder the


                                                 8
   Case: 4:21-cv-01329-MTS Doc. #: 1 Filed: 11/10/21 Page: 9 of 58 PageID #: 9




State’s recovery from COVID-19, and [2] to ease licensing requirements to eliminate barriers to

the provision of health care services and other professions.” Specifically, the Director of the

Missouri Department of Health and Senior Services may temporarily waive or suspend any

requirements or rules that would “prevent, hinder, or delay necessary action by the department to

respond to staff shortages[.]” The Order also “direct[ed] the members of the [Missouri] National

Guard to provide assistance to the Department of Health and Senior Services to ensure on-time

reporting of data in electronic records from medical providers relative to COVID-19 testing, and

as otherwise needed to help aid the department to respond to staff shortages[.]”

   44. According to the Missouri Department of Health and Senior Services, there were 48 Small

Rural Hospitals operating in the State of Missouri as of September 24, 2020. Missouri Rural

Hospitals and Critical Access Hospitals, Missouri Department of Health and Senior Services

(Sept.   24,   2020),   available at    https://health.mo.gov/living/families/ruralhealth/pdf/rural-

hospitals.pdf (last visited Nov. 8, 2021).

   45. Dr. Randy Tobler, CEO of Scotland County Hospital in Memphis, Missouri—a small rural

hospital—believes a COVID-19 vaccine mandate will encourage his staff to quit rather than

receive the vaccine. Elle Reeve, A Covid-19 vaccine mandate won’t force staff at this rural

Missouri hospital to get the shot, CEO says. It will make them quit., CNN (Oct. 12, 2021),

https://www.cnn.com/2021/10/12/us/unvaccinated-missouri-hospital-covid-19/index.html           (last

visited Nov. 8, 2021). According to Dr. Tobler: “There were people in the hospital that freely

shared that if the vaccine mandate happened . . . , they would not work here. That’s just something

they weren’t going to put in their body.” Id. The hospital has already lost 10 of its 57 nurses

(approximately 18 percent) since the pandemic began and, at times, has had to turn away patients

amid a surge in COVID-19 cases due to staff shortages. Lauren Weber Kaiser, In Missouri, the


                                                 9
 Case: 4:21-cv-01329-MTS Doc. #: 1 Filed: 11/10/21 Page: 10 of 58 PageID #: 10




lack of a vaccine mandate becomes competitive advantage in hospital staffing wars, St. Louis Post-

Dispatch (Aug. 31, 2021), https://www.stltoday.com/lifestyles/health-med-fit/coronavirus/in-

missouri-the-lack-of-a-vaccine-mandate-becomes-competitive-advantage-in-hospital-staffing-

wars/article_64cc03c0-5924-578e-9adc-d26e0e43db11.html. To fill the gaps, the hospital has

hired travel nurses, which cost $200 an hour or more—a price that small rural hospitals cannot

easily afford. Id.

    46. Nebraska likewise has been experiencing a significant shortage in healthcare workers. This

crisis started long before the COVID-19 pandemic began. For example, the latest statistics

available from 2018 indicate that more than 4,300 job openings for registered nurses existed in

Nebraska.

    47. According to data from the Nebraska Department of Health and Human Services, nine

assisted living facilities and 20 nursing homes in rural Nebraska have closed since 2019.

    48. Just a few months ago, on August 26, 2021, Nebraska Governor Pete Ricketts, much like

Missouri Governor Parson, issued Executive Order No. 21-12. That order declared that “Nebraska

hospitals, clinics, and other health care facilities are facing a shortage of health care professionals”

and that “a hospital capacity emergency exists.” Neb. Exec. Order 21-12 (Aug. 26, 2021),

available     at     https://www.dropbox.com/s/sm3dpu7t094ymum/Executive%20Order%2021-

12%20-%20Additional%20Healthcare%20Workforce%20Capacity.pdf?dl=0 (last visited Nov. 5,

2021).   Governor Ricketts issued the order, which temporarily waived certain statutes and

regulations governing healthcare workers, to “protect[] the citizens of Nebraska from the public

health threat of a hospital capacity and workforce emergency.” Id. The order, which “remain[s]

in effect until December 31, 2021,” id., addressed the hospital capacity issue by “expand[ing] the

pool of healthcare professionals who are eligible to care for Nebraskans.” Gov. Ricketts Takes


                                                  10
 Case: 4:21-cv-01329-MTS Doc. #: 1 Filed: 11/10/21 Page: 11 of 58 PageID #: 11




Action to Help Hospitals Increase Staffing (Aug. 27, 2021), https://governor.nebraska.gov/

press/gov-ricketts-takes-action-help-hospitals-increase-staffing (last visited Nov. 5, 2021).

   49. Also, on August 26, 2021, Governor Ricketts announced a Directed Health Measure, see

id., suspending certain elective surgeries that could wait four weeks or longer without substantially

changing a patient’s outcome. Directed Health Measure Order 2021-002, Nebraska Department

of Health and Human Services, https://dhhs.ne.gov/Archived%20DHMs/DHM%202021-002.pdf

(last visited Nov. 5, 2021). That measure stayed in place until October 21, 2021. Gov. Ricketts:

State Rescinding DHM, Inpatient Elective Surgeries Can Resume (Oct. 21, 2021),

https://governor.nebraska.gov/press/gov-ricketts-state-rescinding-dhm-inpatient-elective-

surgeries-can-resume (last visited Nov. 5, 2021).

   50. In August 2021, just weeks before President Biden announced that his Administration

would create the CMS vaccine mandate, Nebraska state officials started specifically recruiting

unvaccinated healthcare workers to address their workforce shortage. Alyssa Lukpat and Lauren

McCarthy, Nebraska is recruiting unvaccinated nurses to plug a staffing shortage, N.Y. Times

(Aug.       26,      2021),       https://www.nytimes.com/2021/08/26/us/nebraska-delta-nurses-

unvaccinated.html (last visited Nov. 5, 2021). The advertisements that state officials posted for

positions in veterans’ homes, psychiatric treatment facilities, and other locations explicitly said,

“No mandated Covid-19 vaccinations.” Id.

   51. In late September 2021, Troy Bruntz—the President and Chief Executive Officer of

Community Hospital in McCook, Nebraska, a small rural community—announced that some of

his hospital’s employees will quit rather than get vaccinated. Andrew Ozaki, Federal vaccine

mandate will cause exodus of staff, rural hospital leader warns, KETV (Sept. 29, 2021),

https://www.ketv.com/article/federal-vaccine-mandate-will-cause-exodus-of-staff-rural-hospital-


                                                 11
 Case: 4:21-cv-01329-MTS Doc. #: 1 Filed: 11/10/21 Page: 12 of 58 PageID #: 12




leader-warns/37780945 (last visited Nov. 5, 2021). He said that his hospital “might end up losing

a lot of services . . . that our communities definitively need[].” Id.

   52. Mary Lanning Healthcare—a hospital in Hastings, Nebraska, which is a rural community

with less than 25,000 residents—is also concerned about the CMS vaccine mandate’s effect. The

hospital already has 45 vacancies within its 270 registered nurse staff positions, and it projects that

the mandate will only make matters worse. Moreover, some of its critical units, such as its

emergency department and intensive care unit, have current vaccination rates at or below 50%,

thus adding to its concerns.

   53. Great Plains Health—a hospital in North Platte, Nebraska, which is a rural community with

less than 25,000 residents—shares these concerns about the CMS vaccine mandate. Because of

its ongoing workforce shortages, the hospital is currently able to staff only around 70 of its 116

beds. To make matters worse, the hospital has received notice from a majority of the personnel

within its behavioral health unit that they will resign rather than submit to vaccination. Because

its behavioral health unit is one of only two in western Nebraska, the impact of reducing those

services will be felt throughout the western half of the State.

   54. Other Medicare- and Medicaid-qualifying healthcare providers have expressed similar

concerns about the negative impacts of the CMS vaccine mandate.

   55. As of October 24, 2021, 101 of the 195 nursing homes in Nebraska (51.8%) had staff

vaccination rates under 75%. Breaking down those numbers further, 24 of the 195 nursing homes

(12.3%) had staff vaccination rates under 50%, and 77 of the 195 (39.4%) had staff vaccination

rates between 50% and 75%.




                                                  12
 Case: 4:21-cv-01329-MTS Doc. #: 1 Filed: 11/10/21 Page: 13 of 58 PageID #: 13




    56. In late September 2021, Governor Ricketts publicly said: “I don’t think the Administration

understands the devastating effect it will have on rural health care if they go forward with this

vaccine mandate.” Ozaki, supra.

    57. Wyoming has also been experiencing a significant shortage in healthcare workers.

Wyoming’s hospitals have sought additional support to respond to the COVID-19 pandemic and

the surge in hospitalized patients.

    58. To help with the healthcare workforce crisis, on September 21, 2021, Wyoming Governor

Mark Gordon activated the Wyoming National Guard to provide temporary assistance to hospitals

throughout Wyoming. Governor Gordon called approximately 95 soldiers and airmen to State

active duty orders assigning them to hospital locations at 24 different sites within 17 Wyoming

counties to augment hospital and Wyoming Department of Health staff to ease workloads.

    59. The Wyoming National Guard members’ responsibilities include assisting in

environmental cleanup in hospital facilities; food and nutrition service; COVID-19 screening;

managing personal protective equipment supplies; and other support tasks.

    60. Nearly every county in Wyoming is designated a HIPSA (health professional shortage

area) by the Health Resources and Services Administration.

    61. Certain Wyoming healthcare providers have been forced to operate in crisis standards of

care in order to mitigate COVID-19 and the resultant staffing shortages, which are significant in

Wyoming.

    62. The State of Wyoming, through the Department of Health, operates several safety net

healthcare facilities to serve the mentally ill, the disabled, and the elderly. These facilities operate

in rural frontier areas and experience significant staffing shortages.




                                                  13
 Case: 4:21-cv-01329-MTS Doc. #: 1 Filed: 11/10/21 Page: 14 of 58 PageID #: 14




   63. The State of Alaska also faces a significant shortage in healthcare workers. Alaska has

also been dealing with that issue before the COVID-19 pandemic began.

   64. A recent survey from the Kaiser Family Foundation confirmed that vaccine mandates pose

substantial threats to existing workforce shortages.       That survey found that 72 percent of

“unvaccinated workers say they will quit” rather than submit to a vaccine mandate. Chris Isidore

and Virginia Langmaid, 72% of unvaccinated workers vow to quit if ordered to get vaccinated,

CNN.com (Oct. 28, 2021), https://www.cnn.com/2021/10/28/business/covid-vaccine-workers-

quit/index.html (last visited Nov. 6, 2021).

   65. The CEO of the National Rural Health Association, Alan Morgan, has acknowledged the

serious challenge that a vaccine mandate presents for rural healthcare providers: “Obviously, it’s

going to be a real challenge for these small, rural hospitals to mandate a vaccine when they’re

already facing such significant workforce shortages.” Weber Kaiser, supra.

   66. The Plaintiff States anticipate that the CMS vaccine mandate will have devastating adverse

effects on healthcare services in their States, particularly in their rural communities.

                     The Plaintiff States’ Role in Medicare and Medicaid

   67. Medicaid is a cooperative state-federal program in which States may choose to participate.

   68. Medicaid is a program that helps States finance the medical expenses of their citizens.

   69. The Plaintiff States have all entered into agreements with the federal government to

participate in Medicaid.

   70. Medicare is a medical-funding program paid for and administered by the federal govern-

ment.

   71. The Plaintiff States employ state surveyors who regularly evaluate healthcare facilities’

compliance with Medicare and Medicaid requirements.             When the state surveyors conduct


                                                 14
 Case: 4:21-cv-01329-MTS Doc. #: 1 Filed: 11/10/21 Page: 15 of 58 PageID #: 15




inspections, they assess compliance with both federal and state regulations at the same time.

Nebraska currently employs over 60 state surveyors who work under its Department of Health and

Human Service’s Division of Public Health. Iowa currently employs about 80 state surveyors

within its Health Facilities Division of the Iowa Department of Inspections and Appeals.

   72. Unless state surveyors confirm a healthcare facilities’ compliance with Medicare and

Medicaid requirements, those facilities are not entitled to obtain Medicare or Medicaid reimburse-

ments.

   73. When state surveyors find that a healthcare facility is not in compliance with federal

Medicare or Medicaid regulations, they send the facility a violation report—known as a 2567

Form—informing it of the deficiencies.

   74. The Plaintiff States also have state-run healthcare facilities that receive Medicare and

Medicaid funding.

   75. Missouri has 13 state-run healthcare facilities that receive Medicare and Medicaid funding

and fall within the scope of the CMS vaccine mandate. These include five adult inpatient facilities,

one children’s psychiatric hospital, six Intermediate Care Facilities for Individuals with

Intellectual Disabilities (“ICFs-IDD”), and one hospital system. The Center for Behavioral

Medicine, Fulton State Hospital, Northwest Missouri Psychiatric Rehabilitation Center, Southwest

Missouri Mental Health Center, and the St. Louis Forensic Treatment Center provide inpatient and

residential psychiatric services. These five facilities, which collectively have 1,127 beds, qualify

as hospitals under the CMS vaccine mandate. The Hawthorn Children’s Psychiatric Hospital is a

28-bed Psychiatric Residential Treatment Facility that provides acute and residential services to

children and youth. The Bellefontaine Habilitation Center, Higginsville Habilitation Center, St.

Charles Habilitation Center, SEMO Residential Services in Sikeston and Poplar Bluff, and the


                                                15
 Case: 4:21-cv-01329-MTS Doc. #: 1 Filed: 11/10/21 Page: 16 of 58 PageID #: 16




South County Habilitation Center each provide 24-hour accommodation, board, personal care, and

basic health and nursing care services to individuals with intellectual disabilities. They qualify as

ICFs-IID under the CMS vaccine mandate.

   76. Nebraska has two state-run healthcare facilities that receive Medicare and Medicaid

funding. The first is the Lincoln Regional Center, which is a 250-bed inpatient psychiatric hospital

that falls within the scope of the CMS vaccine mandate. It serves people who need very specialized

psychiatric services and people who, because of mental illness, require a highly structured

treatment setting. Based on the most recently available information, only 68% of the staff at the

Lincoln Regional Center has received a COVID-19 vaccine. The second facility is the Beatrice

State Developmental Center. It is a residential treatment facility dedicated to providing specialized

psychological, medical, and developmental supports to people with intellectual and developmental

disabilities. It qualifies as an ICF-IID and is covered by the CMS vaccine mandate. Based on the

most recently available information, only 57.5% of the staff at the Beatrice State Developmental

Center has received a COVID-19 vaccine.

   77. Alaska has one state-run health care facility that receives Medicare and Medicaid funding,

the Alaska Psychiatric Institute (“API”). API is an 80-bed psychiatric hospital that falls within the

CMS mandate. The state of Alaska is required by state law to make mental health treatment

available at a state-operated hospital to any individual ordered to be involuntarily committed for

treatment under state law. Alaska Stat. § 47.30.760.

   78. Iowa has five state-run healthcare facilities that receive Medicare and Medicaid funding

and fall under the CMS vaccine mandate as written. The Cherokee and Independence Mental

Health Institutes serve children, adolescents and adults in need of specialized psychiatric services

and people who, because of persistent mental illness, require a highly structured treatment setting


                                                 16
 Case: 4:21-cv-01329-MTS Doc. #: 1 Filed: 11/10/21 Page: 17 of 58 PageID #: 17




or higher level of specialized care. These facilities serve as a provider of last resort and collectively

treated more than 400 people within state fiscal year 2020. The Glenwood and Woodward

Resource Centers are residential treatment facilities dedicated to providing specialized psycho-

logical, medical, and developmental supports to people with intellectual and developmental

disabilities. Both are licensed as an Intermediate Care Facility for Individuals with Intellectual

Disabilities (ICFs-IID). Today, Glenwood and Woodward are home to 286 Iowans. The Iowa

Veterans serves as a long-term health care facility providing nursing and residential levels of care

for honorably discharged veterans and their dependent spouses, surviving spouses, and gold star

parents. It provides a continuum of care to more than 500 veterans and family members, including

at its 113-bed licensed residential care facility.

    79. The State of Wyoming, through the Department of Health, operates three state-run facilities

that receive Medicare and Medicaid funding. The facilities are the Wyoming State Hospital, the

Wyoming Life Resource Center, and the Wyoming Retirement Center. These facilities serve the

mentally ill, the disabled, and the elderly. These facilities operate in rural frontier areas and

experience significant staffing shortages.

         The President’s Announcement of Widespread Federal Vaccine Mandates

    80. For the first six months of President Biden’s Administration, none of his agencies sought

to impose vaccine mandates on the American people. As recently as July 23, 2021, the White

House announced that mandating vaccines is “not the role of the federal government.” Press

Briefing by Press Secretary Jen Psaki (July 23, 2021), The White House, https://www.whitehouse.

gov/briefing-room/press-briefings/2021/07/23/press-briefing-by-press-secretary-jen-psaki-july-

23-2021/ (last visited Nov. 5, 2021).




                                                     17
 Case: 4:21-cv-01329-MTS Doc. #: 1 Filed: 11/10/21 Page: 18 of 58 PageID #: 18




   81. On September 9, 2021, amid flagging poll numbers due to the crisis in Afghanistan and on

the southern border, the Administration’s policy on federal vaccine mandates underwent a

dramatic about-face.

   82. On September 9, President Biden gave a speech announcing his six-point Plan to “turn the

tide on COVID-19.”         Joseph Biden, Remarks at the White House (Sept. 9, 2021),

https://www.whitehouse.gov/briefing-room/speeches-remarks/2021/09/09/remarks-by-president-

biden-on-fighting-the-covid-19-pandemic-3/ (last visited Nov. 5, 2021) (“Biden Speech”).

   83. President Biden announced that the first plank of his plan is to “require more Americans to

be vaccinated.” Id. The purpose of this plan, as he said, is to “reduce the number of unvaccinated

Americans.” Id.

   84. President Biden laid primary responsibility for the ongoing pandemic with unvaccinated

Americans, saying that he is “frustrated with the nearly 80 million Americans who are still not

vaccinated.” Id. He stated that “[t]his is a pandemic of the unvaccinated,” and that the “nearly 80

million Americans [who are] not vaccinated . . . can cause a lot of damage—and they are.” Id. He

even blamed the unvaccinated for healthcare shortages: “The unvaccinated overcrowd our

hospitals, are overrunning the emergency rooms and intensive care units, leaving no room for

someone with a heart attack . . . or cancer.” Id. Scolding the unvaccinated, he stated: “[O]ur

patience is wearing thin. And your refusal has cost all of us.” Id. And in an apparent effort to

foment national discord, he said: “For the vast majority of you who have gotten vaccinated, I

understand your anger at those who haven’t gotten vaccinated.” Id.

   85. President Biden repeatedly said that “the vaccines provide very strong protection from

severe illness from COVID-19.” Id.




                                                18
 Case: 4:21-cv-01329-MTS Doc. #: 1 Filed: 11/10/21 Page: 19 of 58 PageID #: 19




   86. President Biden announced several federal vaccine mandates—(1) a mandate from the

Occupational Safety and Health Administration (“OSHA”) for companies with more than 100

employees, (2) a mandate for federal employees, (3) a mandate for employees of federal contrac-

tors and subcontractors, and (4) the CMS vaccine mandate challenged here. Id.

   87. President Biden also expressed a dismissive view of States that have used their

constitutionally guaranteed police powers to adopt contrary public-health policies. Id. He stated:

“Let me be blunt. My plan also takes on elected officials and states that are undermining . . . these

lifesaving actions.” Id. Speaking scornfully of “governor[s]” who oppose the new federal man-

dates, he promised that “if these governors won’t help us beat the pandemic, I’ll use my power as

President to get them out of the way.” Id.

                            Overview of the CMS Vaccine Mandate

   88. On November 5, 2021, nearly two months after President Biden announced his federal

vaccine mandates, CMS finally published the IFC challenged here, which contains the CMS

vaccine mandate. 86 Fed. Reg. 61,555.

   89. The CMS vaccine mandate covers fifteen categories of Medicare- and Medicaid-certified

providers and suppliers. By expanding its reach in this way, the mandate broadly sweeps in a

diverse set of healthcare providers. These include, among others, rural health clinics, hospitals,

long-term-care facilities, and home health agencies. 86 Fed. Reg. at 61,569–70. Demonstrating

the far reach of the mandate, CMS reported that “Medicare-participating hospitals . . . include

nearly all hospitals in the U.S.” Id. at 61,577.

   90. The Plaintiff States have many healthcare providers that fall within the fifteen categories

of Medicare- and Medicaid-certified providers and suppliers covered by the CMS vaccine

mandate. For example, Nebraska has approximately 50 Ambulatory Surgical Centers (“ASCs”),


                                                   19
 Case: 4:21-cv-01329-MTS Doc. #: 1 Filed: 11/10/21 Page: 20 of 58 PageID #: 20




35 hospices, five Psychiatric residential treatment facilities (“PRTFs”), one Program of All-

Inclusive Care for the Elderly (“PACE”), 42 hospitals, 195 long-term-care (“LTC”) facilities, 13

Intermediate Care Facilities for Individuals with Intellectual Disabilities (“ICFs-IID”), 67 home

health agencies (“HHAs”), 63 Critical Access Hospitals (“CAHs”), six outpatient physical therapy

and speech-language pathology clinics, 145 Rural Health Clinics (“RHCs”), 39 Federally

Qualified Health Centers (“FQHCs”), and 40 End-Stage Renal Disease (“ESRD”) facilities.

   91. CMS recognized that the “providers and suppliers regulated under this rule are diverse in

nature, management structure, and size.” 86 Fed. Reg. at 61,602. Despite this, CMS relied

predominantly on facts and figures involving long-term-care facilities—providers who serve

mostly elderly and often immunocompromised patients—to make its case for applying the vaccine

mandate to fourteen other categories of Medicare- and Medicaid-certified providers. See, e.g., id.

at 61,585 (discussing “case rates among [long-term-care] facility residents,” and claiming, without

citation, that those facilities’ “experience may generally be extrapolated to other settings”); id. at

61,604 (“[W]e often use [long-term-care] facilities for examples because they pose some of the

greatest risks for COVID–19 morbidity and mortality”). CMS did this while acknowledging that

“[a]ge remains a strong risk factor for severe COVID–19 outcomes,” id. at 61,566, and that “risk

of death from infection from an unvaccinated 75- to 84-year-old person is 320 times more likely

than the risk for an 18- to 29-years old person,” id. at 61,610 n.247.

   92. CMS acknowledged that psychiatric residential treatment facilities serve individual under

21 years of age, see id. at 61576, and that “rural and other community-care oriented health centers

serve the full age spectrum and a lower fraction of severely health-impaired,” id. at 61,612. Even

though the individuals served by these facilities are generally at a low risk from COVID-19, the




                                                 20
 Case: 4:21-cv-01329-MTS Doc. #: 1 Filed: 11/10/21 Page: 21 of 58 PageID #: 21




IFC imposed the same stringent vaccine mandate on psychiatric residential treatment facilities and

rural health centers as it did on long-term-care facilities.

    93. CMS applied its vaccine mandate to practically every full-time employee, part-time

worker, trainee, student, volunteer, or contractor working at the covered facilities. The mandate

requires vaccination for all “facility staff”—a term that includes employees, trainees, students,

volunteers, or contractors—“who provide any care, treatment, or other services for the facility,”

“regardless of . . . patient contact.” Id. at 61,570 (emphasis added). This includes “administrative

staff” and “housekeeping and food services,” to name a few. Id. CMS also imposed its mandate

on “any individual that . . . has the potential to have contact with anyone at the site of care.” Id.

at 61,571 (emphasis added). This includes “staff that primarily provide services remotely via tele-

work” but “occasionally encounter fellow staff . . . who will themselves enter a health care

facility.” Id. at 61, 570. Illustrating its breadth, the mandate also covers a contracted “crew

working on a construction project whose members use shared facilities (restrooms, cafeteria, break

rooms) during their breaks[.]” Id. at 61,571.

    94. Maximizing the scope of the mandate, CMS allowed exemptions only to the extent

necessary to “comply with applicable Federal anti-discrimination laws and civil rights protections”

such as medical exemptions required by the Americans with Disabilities Act (“ADA”) and

religious exemptions required by Title VII of the Civil Rights Act of 1964. Id. at 61,568.

    95. The IFC became immediately effective on November 5, 2021—the day it was published.

Id. at 61,555.

    96. Covered providers must implement the CMS vaccine mandate in two 30-day phases. Id.

at 61,571. Phase 1 requires that staff receive the first dose of the vaccine or request a medical or




                                                  21
 Case: 4:21-cv-01329-MTS Doc. #: 1 Filed: 11/10/21 Page: 22 of 58 PageID #: 22




religious exemption by December 5, 2021. Id. And Phase 2 mandates that non-exempt staff be

fully vaccinated by January 4, 2022. Id.

   97. CMS recognized the breadth of and expedited schedule imposed by its vaccine mandate,

acknowledging its “near-universal applicability” to health-care staff, and observing that under the

rule “virtually all health care staff in the U.S. will be vaccinated for COVD–19 within a matter of

months.” 86 Fed. Reg. at 61,573. CMS estimated that approximately 10.3 million employees will

fall under the mandate. Id. at 61,603.

   98. CMS settled on the draconian course of mandating vaccines because it determined that the

“most important inducement [for vaccination] will be the fear of job loss.” Id. at 61,607.

   99. CMS “expect[s]” its vaccine mandate “to remain relevant for some time beyond the end”

of the formal public health emergency and anticipates retaining the mandate “as a permanent

requirement for facilities.” Id. at 61,574.

                The CMS Vaccine Mandate and Healthcare Worker Shortages

   100.        CMS admitted that “currently there are endemic staff shortages for almost all

categories of employees at almost all kinds of health care providers and supplier[s].” 86 Fed. Reg.

at 61,607. “1 in 5 hospitals,” CMS noted, “report that they are currently experiencing a critical

staffing shortage.” Id. at 61,559. In addition, “approximately 23 percent of [long-term-care]

facilities report[] a shortage in nursing aides; 21 percent report[] a shortage of nurses; and 10 to 12

percent report[] shortages in other clinical and non-clinical staff categories.” Id. It is thus not

surprising, CMS relayed, that “[o]ver half (58 percent) of nursing homes participating in a recent

survey . . . indicated that they are limiting new admissions due to staffing shortages.” Id.

   101.        In creating the rule, CMS was “aware of concerns about health care workers

choosing to leave their jobs rather than be vaccinated” and knew that “there might be a certain


                                                  22
 Case: 4:21-cv-01329-MTS Doc. #: 1 Filed: 11/10/21 Page: 23 of 58 PageID #: 23




number of health care workers who choose to do so.” Id. at 61,569. In fact, CMS reported that “a

large long term care association” recently issued a policy statement observing that “some in the

sector fear that a vaccine mandate could lead to worker resignations.” Id. at 61,565-66. But CMS

dismissed these concerns because “there is insufficient evidence to quantify” them. Id. at 61,569.

Instead, CMS optimistically “believe[d] that the COVID-19 vaccine requirements . . . will result

in nearly all health care workers being vaccinated.” Id. (emphasis added); see also id. at 61,609

(finding that only a “relatively small fraction” of turnover “will be due to vaccination”).

   102.        CMS repeatedly admitted that the current “endemic staff shortages . . . may be made

worse if any substantial number of unvaccinated employees leave health care employment

altogether.” Id. at 61,607; see also id. at 61,608 (“[T]here may be disruptions in cases where

substantial numbers of health care staff refuse vaccination and are not granted exemptions and are

terminated, with consequences for employers, employees, and patients”); id. at 61,609 (“[I]t is true

that compliance with this rule may create some short-term disruption of current staffing levels for

some providers or suppliers in some places.”).

   103.        CMS also recognized that these staffing concerns apply even if providers do not

lose a substantial number of employees. In fact, “[e]ven a small fraction” of what CMS called

“recalcitrant unvaccinated employees” who decline to take a vaccine “could disrupt facility

operations.” Id. at 61,612.

   104.        CMS additionally recognized facts indicating that potential disaster awaits rural

communities, including minority health-care workers in those communities. CMS acknowledged

that “vaccination rates are disproportionately low among nurses and health care aides” in rural

locations and other “communities that experience social risk factors.” Id. at 61,566. And it

admitted that “early indications are that rural hospitals are having greater problems with employee


                                                 23
 Case: 4:21-cv-01329-MTS Doc. #: 1 Filed: 11/10/21 Page: 24 of 58 PageID #: 24




vaccination . . . than urban hospitals.” Id. at 61,613. In addition, CMS observed that “nurses and

aides in these [rural and other underprivileged] settings are more likely to be members of racial

and ethnic minority communities.”        Id. at 61,566.    This means minority workers in rural

communities are among the most likely groups to lose their jobs under the mandate.

   105.        CMS nonetheless dismissed these workforce concerns because it thought that the

unvaccinated employees would get jobs in other healthcare positions, such as “physician and

dental offices,” that are not covered by the CMS vaccine mandate. Id. at 61,607. Yet this specula-

tion does nothing to abate the debilitating losses threated to the healthcare facilities falling under

this mandate. It does not suggest that the healthcare worker shortage will disappear but only that

shortages will be further concentrated among the healthcare facilities covered by the CMS man-

date.

   106.        CMS also conjectured that staffing deficiencies at facilities covered by the mandate

“might be offset by persons returning to the labor market who were unwilling to work at locations

where some other employees are unvaccinated and hence provide some risk[] to those who have

completed the primary vaccination series for COVID–19.”             Id. at 61,607.   This was pure

speculation. CMS cited no evidence that such vaccinated workers exist. In any event, a worker

who harbored such fears would still have to regularly work with unvaccinated patients, and it is

irrational to assume that they would be willing to work with unvaccinated patients but not

unvaccinated co-workers.

   107.        CMS additionally dismissed workforce shortage concerns by assuming “a dynamic

labor market” where “net employment opportunities . . . do not change.” Id. at 61,608 (finding

“no reason to believe” that “net employment opportunities” will “change”). But an industry with

admittedly “endemic staff shortages,” id. at 61,607, is not a dynamic labor market.               Net


                                                 24
 Case: 4:21-cv-01329-MTS Doc. #: 1 Filed: 11/10/21 Page: 25 of 58 PageID #: 25




employment opportunities in the existing healthcare industry can and do change. Indeed, if the

CMS vaccine mandate drives out enough employees from particular facilities, those facilities

might be forced to close certain divisions, cancel certain services, or shutter altogether—any of

which would decrease net employment opportunities.

   108.        If CMS is wrong in its optimism that “nearly all health care workers” will submit

to the mandate, the results will be disastrous. Id. at 61,569. CMS itself concluded that approx-

imately 2.4 million healthcare workers will get vaccinated under this IFC in the first year. Id. at

61,603. If even 10 percent of those workers decline vaccination, the healthcare industry will lose

over 200,000 employees, dealing a devastating blow to an already struggling industry. Id. at

21,606.

   109.        Further confirming that this vaccine mandate threatens grave staffing concerns,

CMS observed that many healthcare workers decline other vaccines. It did so by noting that

“studies on annual seasonal influenza vaccine uptake consistently show that half of health care

workers may resist seasonal influenza vaccination nationwide.” Id. at 61,568.

   110.        Despite the very real concerns about the vaccine mandate pushing many healthcare

workers out of their jobs, CMS remarkably concluded that existing staffing shortages are actually

a reason to impose the mandate. In CMS’s words, “the urgent need to address COVID-related

staffing shortages that are disrupting patient access to care[] provides strong justification as to the

need to issue this” mandate. Id. at 61,567. Because “unvaccinated staff” are “at greater risk for

infection” and “absenteeism,” CMS elaborated, allowing providers to continue hiring them might

“create staffing shortages.” Id. at 61,559. But this speculation ignores the obvious fact that

maintaining a larger pool of potential workers, even if some might have a bout with COVID-19,

is better than categorically excluding a class of individuals.


                                                  25
 Case: 4:21-cv-01329-MTS Doc. #: 1 Filed: 11/10/21 Page: 26 of 58 PageID #: 26




             The CMS Vaccine Mandate’s Contradictions, Concessions, and Omissions

      111.        CMS “considered requiring daily or weekly testing of unvaccinated individuals”

instead of mandatory vaccination. 86 Fed. Reg. at 61,614. But it chose the vaccine mandate for

one reason: because it believes that “vaccination is a more effective infection control measure.”

Id.    In so doing, CMS failed to discuss how other countervailing considerations—such as

workforce shortages and personal liberty considerations—factored into the rejection of the

periodic testing option. Nor did CMS acknowledge the disparity between its rejection of testing

and OSHA’s recently issued Emergency Temporary Standard (“ETS”), see COVID–19

Vaccination and Testing; Emergency Temporary Standard, 86 Fed. Reg. 61,402 (Nov. 5, 2021),

which allows regular testing as an adequate alternative.

      112.        CMS “considered whether it would be appropriate to limit COVID-19 vaccination

requirements to staff who have not previously been infected by SARS-CoV-2.” 86 Fed. Reg. at

61,614. Yet it decided against that option because it did not think that “infection-induced

immunity, also called ‘natural immunity’” is “equivalent to receiving the COVID-19 vaccine.” Id.

at 61,559. But elsewhere, CMS recognized the value of natural immunity when it stated that each

day 100,000 people are “recover[ing] from infection,” that they “are no longer sources of future

infections,” and that their natural immunity “reduce[s] the risk to both health care staff and patients

substantially.” Id. at 61,604 (emphasis added).

      113.        CMS ignored key evidence indicating that natural immunity effectively guards

against the Delta variant. In a study of a large population of patients in Israel, vaccinated people

who had not been previously infected had 13 times higher odds of experiencing a breakthrough

infection with the Delta variant than patients who had recovered from COVID but were never

vaccinated. Sevan Gazit et al., Comparing SARS-CoV-2 natural immunity to vaccine-induced


                                                  26
 Case: 4:21-cv-01329-MTS Doc. #: 1 Filed: 11/10/21 Page: 27 of 58 PageID #: 27




immunity:    Reinfections   versus      breakthrough   infections,   medRxiv   Preprint   (2021),

https://www.medrxiv.org/content/10.1101/2021.08.24.21262415v1 (last visited Nov. 6, 2021).

   114.        CMS repeatedly said, much like President Biden had in his September 9 speech,

that the currently authorized COVID-19 vaccines are “highly effective at protecting vaccinated

people against symptomatic and severe COVID-19.” 86 Fed. Reg. at 61,560.

   115.        CMS also recognized that “the effectiveness of the vaccine to prevent disease

transmission by those vaccinated [is] not currently known.” Id. at 61,615.

   116.        CMS’s various directives sent conflicting messages on “booster” or additional

doses. On the one hand, CMS said that its mandate does not require “booster doses” or additional

doses of the vaccine. 86 Fed. Reg. at 61,563. But on the other hand, CMS included a “booster”

shot in its cost calculations, id. at 61,608, and acknowledged that “[s]ome in the scientific

community believe that ‘booster’ vaccinations after 6 or 8 months would be desirable to maintain

a high level of protection against the predominant Delta version of the virus,” id. at 61,609. CMS

appeared to be forecasting that if it has the power to mandate vaccines, it will eventually extend

the mandate to include booster shots.

   117.        CMS recognized that vaccines, like all other medical interventions, are not without

risks. “Serious adverse reactions also have been reported following COVID–19 vaccines,” even

though “they are rare.” Id. at 61,565. The adverse reactions include “anaphylaxis,” “thrombosis,”

and “myocarditis and/or pericarditis,” to name a few. Id.

   118.        CMS never considered other important aspects of imposing its mandate. Among

those are the interests of healthcare workers who—for any number of varying personal reasons—

do not want to take one of the currently authorized vaccines.




                                                27
 Case: 4:21-cv-01329-MTS Doc. #: 1 Filed: 11/10/21 Page: 28 of 58 PageID #: 28




   119.        Upon information and belief, some religious healthcare institutions received

Medicare and Medicaid funding and will be subject to the CMS vaccine mandate. The mandate

will thus require those religious institutions to terminate ministerial employees in violation of the

First Amendment. Our Lady of Guadalupe Sch. v. Morrissey-Berru, 140 S. Ct. 2049, 2061 (2020).

But CMS never considered this problem when imposing its mandate.

      The CMS Vaccine Mandate’s Unprecedented Intrusion on States’ Police Powers

   120.        CMS repeatedly recognized that the vaccine mandate is unprecedented because

CMS has never before mandated any vaccination. See, e.g., 86 Fed. Reg. at 61,567 (“We have not

previously required any vaccinations”); id. at 61,568 (“[W]e have not, until now, required any

health care staff vaccinations”); id. (“We acknowledge that we have not previously imposed such

requirements”).

   121.        CMS made clear that the vaccine mandate is an attempt to nationalize the COVID-

19 vaccination response. For example, it explained that “the inconsistent web of State, local, and

employer COVID–19 vaccination requirements have established a pressing need for a consistent

Federal policy mandating staff vaccination in health care settings that receive Medicare and

Medicaid funds.” Id. at 61,584.

   122.        CMS made clear that it intends for the vaccine mandate to preempt any arguably

inconsistent state and local laws. See, e.g., id. at 61,568 (“We intend . . . that this nationwide

regulation preempts inconsistent State and local laws”); id. at 61,572 (“[T]his IFC preempts the

applicability of any State or local law providing for exemptions to the extent such law provides

broader exemptions than provided for by Federal law and are inconsistent with this IFC”); id. at

61,613 (“This rule would pre-empt some State laws that prohibit employers from requiring their

employees to be vaccinated for COVID–19.”).


                                                 28
 Case: 4:21-cv-01329-MTS Doc. #: 1 Filed: 11/10/21 Page: 29 of 58 PageID #: 29




   123.        The CMS vaccine mandate requires certain state-run healthcare facilities that

receive Medicare or Medicaid funding to force their state employees to get vaccinated. Id. at

61,613 (“[T]o the extent that State-run facilities that receive Medicare and Medicaid funding are

prohibited by State or local law from imposing vaccine mandates on their employees, there is direct

conflict between the provisions of this rule (requiring such mandates) and the State or local law

(forbidding them).”).

   124.        The CMS vaccine mandate forces certain state-run healthcare facilities that receive

Medicare or Medicaid funding to comply with overbearing, invasive, and unnecessary record-

keeping obligations. Even for the rare healthcare staff who fall outside the IFC, the facility still

must “identify and monitor these individuals” by “documenting and tracking [their] vaccination

status.” Id. at 61,571. To what end or purpose, CMS does not say. And though the mandate

purports to require only initial vaccination and not booster shots, covered facilities must track and

document the “vaccination status of any staff who have obtained any booster doses.” Id. Again,

CMS does not disclose the purpose of this seemingly arbitrary demand. In addition, “[v]accine

exemption requests and outcomes must also be documented” and preserved. Id. at 61,572. This

is so even though CMS has no interest in knowing whether healthcare facilities comply with the

ADA or Title VII.

   125.        CMS announced that it will coopt state employees to enforce the vaccine mandate.

As it explained, CMS “will advise and train State surveyors on how to assess compliance with the

new requirements.” Id. at 61,574. Those state employees will need to “review[] the entity’s

records of staff vaccinations” and “interview[] staff to verify their vaccination status.” Id. The

surveyors will also “cite providers and suppliers when noncompliance is identified.” Id.




                                                 29
 Case: 4:21-cv-01329-MTS Doc. #: 1 Filed: 11/10/21 Page: 30 of 58 PageID #: 30




   126.        Non-compliant healthcare providers are “subject to enforcement remedies imposed

by CMS depending on the level of noncompliance and the remedies available under Federal law

(for example, civil money penalties, denial of payment for new admissions, or termination of the

Medicare/Medicaid provider agreement).” Id. at 61,574.

   127.        It appears that a covered healthcare provider that flatly refuses to comply—or

otherwise cooperate—with the vaccine mandate will face termination of its Medicare/Medicaid

provider agreement. Id. at 61,574 (noting that the available “remedies” include “termination of

the Medicare/Medicaid provider agreement”); Background Press Call on OSHA and CMS Rules

for Vaccination in the Workplace (Nov. 4, 2021), The White House, https://www.whitehouse.gov/

briefing-room/press-briefings/2021/11/04/background-press-call-on-osha-and-cms-rules-for-

vaccination-in-the-workplace/ (last visited Nov. 8, 2021) (“If a facility were not making steps to

come into compliance, we have a range of remedies. . . . We could . . . certainly, as a last resort,

terminate them from the Medicare and Medicaid programs.”).

   128.        CMS recognized that governing statutes require HHS Secretary Becerra to “consult

with appropriate State agencies” when determining the “conditions of participation by providers

of services,” 42 U.S.C. § 1395z, and that no such consultation occurred before the IFC issued, 86

Fed. Reg. at 61,567. Yet CMS claimed that it did not violate that statute because it “intend[s] to

engage in consultations with appropriate State agencies . . . following the issuance of this rule,”

and it does not “understand the statute to impose a temporal requirement to do so in advance of

the issuance of this rule.” 86 Fed. Reg. at 61,567.

The CMS Vaccine Mandate’s Failure to Comply with Notice and Comment Requirements

   129.        CMS recognized that the Administrative Procedure Act, 5 U.S.C. § 553, and the

Social Security Act, 42 U.S.C. 1395hh(b)(1), ordinarily require notice and a comment period


                                                30
 Case: 4:21-cv-01329-MTS Doc. #: 1 Filed: 11/10/21 Page: 31 of 58 PageID #: 31




before a rule like this one takes effect. 86 Fed. Reg. at 61,583. But CMS “believe[d] it would be

impracticable and contrary to the public interest . . . to undertake normal notice and comment

procedures.” Id. at 61,586. It thus found “good cause to waive” those procedures. Id.

    130.         Trying to justify its good cause finding, CMS stated that “[t]he data showing the

vital importance of vaccination” indicates that it “cannot delay taking this action.” Id. at 61,583.

But CMS did not reconcile that finding with its acknowledgement that “the effectiveness of the

vaccine[s] to prevent disease transmission by those vaccinated [is] not currently known.” Id. at

61,615.

    131.         CMS recognized that although summer brought a Delta-variant-driven COVID-19

surge, “newly reported COVID–19 cases, hospitalizations, and deaths have begun to trend

downward at a national level.” Id. at 61,583. Yet CMS still sought to immediately impose the

vaccine mandate because it claimed, without citing any support, that “there are emerging

indications of potential increases in . . . northern states where the weather has begun to turn colder.”

Id. at 61,584.

    132.         CMS also asserted that it must immediately implement the vaccine mandate

because “the 2021–2022 influenza season” will soon begin. Id. at 61,584. CMS offered this

justification while simultaneously admitting that “the intensity of the upcoming 2021–2022

influenza season cannot be predicted” and that “influenza activity during the 2020–2021 season

was low throughout the U.S.” Id.

   133.          In claiming that it must immediately implement the vaccine mandate, CMS ignored

that it waited almost two months after President Biden’s directive before it promulgated the IFC

to the public.




                                                  31
 Case: 4:21-cv-01329-MTS Doc. #: 1 Filed: 11/10/21 Page: 32 of 58 PageID #: 32




                 CMS’s Cited Statutory Authority for the Vaccine Mandate

   134.        CMS’s alleged statutory authority for its vaccine mandate rests on two sets of laws.

Id. at 61,567. First, it relies on two statutes that grant general rulemaking power to HHS. Id.

Second, it relies on more specific statutes that purportedly give it authority to apply the vaccine

mandate to the specific covered classes of healthcare facilities. Id.

   135.        The two statutes that grant general rulemaking power to HHS are in the Social

Security Act. The first—42 U.S.C. § 1302(a)—provides that “the Secretary of Health and Human

Services . . . shall make and publish such rules and regulations, not inconsistent with this chapter,

as may be necessary to the efficient administration of the functions with which [he] is charged

under this Act.” The second—42 U.S.C. § 1395hh(a)(1)—states that the “Secretary shall prescribe

such regulations as may be necessary to carry out the administration of the insurance programs

under” Title 18 of the Social Security Act (Medicaid). These statutes do not establish that the

Secretary may mandate vaccines.

   136.        CMS cites one specific statute to support its inclusion of Psychiatric Residential

Treatment Facilities (“PRTFs”) in the vaccine mandate.                  That statute—42 U.S.C. §

1396d(h)(1)(B)(i)—defines the term “inpatient psychiatric hospital services for individuals under

age 21” to “include[] only . . . inpatient services which . . . involve active treatment which meets

such standards as may be prescribed in regulations by the Secretary.” This statute implies that the

Secretary may create regulations setting “standards” for the “active treatment” of individuals under

age 21 needing inpatient psychiatric services. But this statute does not establish that the Secretary

may impose mandatory vaccines on the staff at PRTFs.

   137.        CMS cites one specific statute to support its inclusion of Intermediate Care

Facilities for Individuals with Intellectual Disabilities (“ICFs-IID”) in the vaccine mandate. That


                                                 32
 Case: 4:21-cv-01329-MTS Doc. #: 1 Filed: 11/10/21 Page: 33 of 58 PageID #: 33




statute—42 U.S.C. § 1396d(d)(1)—defines those facilities to mean an institution whose “primary

purpose . . . is to provide health or rehabilitative services for [intellectually disabled] individuals”

if “the institution meets such standards as may be prescribed by the Secretary.” This statute implies

that the Secretary may create standards concerning the kinds of “health or rehabilitative services”

the facility provides. But this statute does not establish that the Secretary may impose mandatory

vaccines on the staff at ICFs-IID.

    138.        CMS cites one specific statute to support its inclusion of Critical Access Hospitals

(“CAHs”) in the vaccine mandate. That statute—42 U.S.C. § 1395i–4(e)—says that “[t]he

Secretary shall certify a facility as a critical access hospital if the facility—(1) is located in a State

that has established a medicare rural hospital flexibility program . . . ; (2) is designated as a critical

access hospital by the State in which it is located; and (3) meets such other criteria as the Secretary

may require.” This statute implies that the Secretary may create “other criteria” similar to the two

expressly listed requirements. But this statute does not establish that the Secretary may impose

mandatory vaccines on the staff at CAHs.

    139.        CMS cites one specific statute to support its inclusion of End-Stage Renal Disease

(“ESRD”) facilities in the vaccine mandate. That statute—42 U.S.C. § 1395rr(b)(1)(A)—author-

izes payments for end-stage renal disease services to “providers of services and renal dialysis

facilities which meet such requirements as the Secretary shall by regulation prescribe for

institutional dialysis services and supplies . . . , transplantation services, self-care home dialysis

support services which are furnished by the provider or facility, and routine professional services

performed by a physician during a maintenance dialysis episode . . . .” This statute acknowledges

that the Secretary may create “requirements” for “institutional dialysis services,” “transplantation




                                                   33
 Case: 4:21-cv-01329-MTS Doc. #: 1 Filed: 11/10/21 Page: 34 of 58 PageID #: 34




services,” and the like. But this statute does not establish that the Secretary may impose mandatory

vaccines on the staff at ESRD facilities.

   140.        CMS cites a few specific statutes to support its inclusion of Ambulatory Surgical

Centers (“ASCs”) in the vaccine mandate. The main statute that CMS cites—42 U.S.C. §

1395k(a)(2)(F)(i)—provides that Medicaid benefits shall include payments for “services furnished

in connection with surgical procedures specified by the Secretary . . . performed in an ambulatory

surgical center (which meets health, safety, and other standards specified by the Secretary in

regulations).” Though this statute implies that the Secretary may create regulations setting “health,

safety, and other standards,” it does not establish that the Secretary’s regulatory power is so broad

that he may mandate vaccines.

   141.        CMS cites two specific statutes to support its inclusion of Programs of All-Inclusive

Care for the Elderly (“PACE”) facilities in the vaccine mandate.           The first—42 U.S.C. §

1395eee(f)—provides that “[t]he Secretary shall issue interim final or final regulations to carry out

this section,” and that “[n]othing in this subsection shall be construed as preventing the Secretary

from including in regulations provisions to ensure the health and safety of individuals enrolled in

a PACE program.” The second—42 U.S.C. § 1396u–4(f)—is materially indistinguishable in its

relevant language. Though these statutes authorize the Secretary to adopt some health- and safety-

related regulations, they do not establish that the Secretary’s regulatory power is so broad that he

may mandate vaccines.

   142.        CMS cites a few specific statutes to support its inclusion of Rural Health Clinics

(“RHCs”) in the vaccine mandate.            The primary statute that CMS cites—42 U.S.C. §

1395x(aa)(2)(K)—defines the term “rural health clinic” to “mean[] a facility which,” among

certain qualifying factors, “meets such other requirements as the Secretary may find necessary in


                                                 34
 Case: 4:21-cv-01329-MTS Doc. #: 1 Filed: 11/10/21 Page: 35 of 58 PageID #: 35




the interest of the health and safety of the individuals who are furnished services by the clinic.”

The expressly listed qualifying factors include the types of services provided, staff qualifications,

medication requirements, and administrative matters. They do not include vaccination. This

statute thus does not give the Secretary the power to mandate vaccines.

   143.        CMS cites one specific statute to support its inclusion of Home Infusion Therapy

(“HIT”) Suppliers in the vaccine mandate. That statute—42 U.S.C. § 1395x(iii)(3)(D)(i)(IV)—

defines the term “qualified home infusion therapy supplier” to “mean[] a pharmacy, physician, or

other provider of services or supplier” that, among certain qualifying factors, “meets such other

requirements as the Secretary determines appropriate, taking into account the standards of care for

home infusion therapy established by Medicare Advantage plans under part C and in the private

sector.” The expressly listed qualifying factors include the types of services provided and staff

qualifications. They do not include vaccination. This statute thus does not give the Secretary the

power to mandate vaccines.

   144.        CMS cites one specific statute to support its inclusion of facilities that provide

outpatient physical therapy and speech-language pathology services in the vaccine mandate. That

statute—42 U.S.C. § 1395x(p)(4)(A)(v)—defines “outpatient physical therapy services” to

exclude services “furnished by a clinic or rehabilitation agency” that does not, among certain

qualifying factors, “meet[] such other conditions relating to the health and safety of individuals

who are furnished services by such clinic or agency on an outpatient basis, as the Secretary may

find necessary.” The expressly listed qualifying factors include the types of services provided,

staff qualifications, and administrative matters. They do not include vaccination. This statute thus

does not give the Secretary the power to mandate vaccines.




                                                 35
 Case: 4:21-cv-01329-MTS Doc. #: 1 Filed: 11/10/21 Page: 36 of 58 PageID #: 36




   145.        CMS cites a few specific statutes to support its inclusion of Community Mental

Health Centers (“CMHCs”) in the vaccine mandate. The primary statute that CMS cites—42

U.S.C. § 1395x(ff)(3)(B)—defines a “community mental health center” to “mean[] an entity that,”

among certain qualifying factors, “meets such additional conditions as the Secretary shall specify

to ensure . . . the health and safety of individuals being furnished such services.” The expressly

listed qualifying factors include the types of services provided, staff qualifications, and admini-

strative matters. They do not include vaccination. This statute thus does not give the Secretary

the power to mandate vaccines.

   146.        CMS cites one specific statute to support its inclusion of hospitals in the vaccine

mandate. That statute—42 U.S.C. § 1395x(e)(9)—defines the term “hospital” to “mean[] an

institution which,” among certain qualifying factors, “meets such other requirements as the

Secretary finds necessary in the interest of the health and safety of individuals who are furnished

services in the institution.” The expressly listed qualifying factors include the types of services

provided, staff qualifications, and administrative matters. They do not include vaccination. This

statute thus does not give the Secretary the power to mandate vaccines.

   147.        CMS cites one specific statute to support its inclusion of hospices in the vaccine

mandate. That statute—42 U.S.C. § 1395x(dd)(2)(G)—says that “[t]he term ‘hospice program’

means a public agency or private organization (or a subdivision thereof) which,” among certain

qualifying factors, “meets such other requirements as the Secretary may find necessary in the

interest of the health and safety of the individuals who are provided care and services by such

agency or organization.” The expressly listed qualifying factors include the types of services

provided, staff qualifications, and administrative matters. They do not include vaccination. This

statute thus does not give the Secretary the power to mandate vaccines.


                                                36
 Case: 4:21-cv-01329-MTS Doc. #: 1 Filed: 11/10/21 Page: 37 of 58 PageID #: 37




    148.        CMS cites one specific statute to support its inclusion of Comprehensive Outpatient

Rehabilitation Facilities (CORFs) in the vaccine mandate.               That statute—42 U.S.C. §

1395x(cc)(2)(J)—provides that “[t]he term ‘comprehensive outpatient rehabilitation facility’

means a facility which,” among certain qualifying factors, “meets such other conditions of

participation as the Secretary may find necessary in the interest of the health and safety of

individuals who are furnished services by such facility, including conditions concerning

qualifications of personnel in these facilities.” The expressly listed qualifying factors include the

types of services provided, staff qualifications, and administrative matters. They do not include

vaccination. This statute thus does not give the Secretary the power to mandate vaccines.

    149.        CMS cites two specific statutes to support its inclusion of long-term-care (“LTC”)

facilities in the vaccine mandate. The first—42 U.S.C. § 1395i–3(d)(4)(B)—states that “[a] skilled

nursing facility must meet such other requirements relating to the health, safety, and well-being of

residents or relating to the physical facilities thereof as the Secretary may find necessary.” The

second—42 U.S.C. § 1396r(d)(4)(B)—likewise provides that “[a] nursing facility must meet such

other requirements relating to the health and safety of residents or relating to the physical facilities

thereof as the Secretary may find necessary.” The expressly listed qualifying factors include the

types of services provided, staff qualifications, licensing requirements, sanitation issues, and

administrative matters. They do not include vaccination. These statutes thus do not give the

Secretary the power to mandate vaccines.

    150.        CMS cites a few specific statutes to support its inclusion of Home Health Agencies

(“HHAs”) in the vaccine mandate. The first—42 U.S.C. § 1395x(o)(6)—defines a “home health

agency” to “mean[] a public agency or private organization, or a subdivision of such an agency or

organization, which,” among certain qualifying factors that do not include vaccination


                                                  37
 Case: 4:21-cv-01329-MTS Doc. #: 1 Filed: 11/10/21 Page: 38 of 58 PageID #: 38




requirements, “meets the conditions of participation specified in [42 U.S.C. § 1395bbb(a)] and

such other conditions of participation as the Secretary may find necessary in the interest of the

health and safety of individuals who are furnished services by such agency or organization.” The

second—42 U.S.C. § 1395bbb—outlines various “conditions of participation that a home health

agency is required to meet,” none of which include vaccination requirements. See 42 U.S.C. §

1395bbb(a). That statute also says that “[i]t is the duty and responsibility of the Secretary to assure

that the conditions of participation and requirements specified in or pursuant to [42 U.S.C. §

1395x(o)] and subsection (a) of this section and the enforcement of such conditions and

requirements are adequate to protect the health and safety of individuals under the care of a home

health agency.” 42 U.S.C. § 1395bbb(b). While these statutes give the Secretary authority to

protect the health and safety of people served by HHAs, they do not give the Secretary the power

to mandate vaccines.

                    The CMS Vaccine Mandate Harms the Plaintiff States

   151.        The CMS vaccine mandate directly injures the Plaintiff States.

   152.        The Plaintiff States are parties to Medicaid agreements with HHS. But the CMS

vaccine mandate seeks to transform that agreement in drastic ways far beyond any terms that the

States have accepted.

   153.        The Plaintiff States operate state-run healthcare facilities that receive Medicare and

Medicaid funding. They are thus required to impose the mandate on their own state employees.

   154.        The Plaintiff States’ surveyors are state employees who enforce Medicare and

Medicaid compliance. The CMS vaccine mandate seeks to commandeer those state employees to

become enforcers of CMS’s unlawful attempt to federalize national vaccine policy and override

the States’ police power on matters of health and safety.


                                                  38
 Case: 4:21-cv-01329-MTS Doc. #: 1 Filed: 11/10/21 Page: 39 of 58 PageID #: 39




   155.        By requiring state-run healthcare facilities and state surveyors to enforce the CMS

vaccine mandate, the Plaintiff States will face increased enforcement costs.

   156.        By requiring state-run healthcare facilities and state surveyors to enforce the CMS

vaccine mandate, that mandate directly infringes the Plaintiff States’ sovereign authority.

   157.        The Plaintiff States are injured because the CMS vaccine mandate purports to

preempt their state and local laws on matters of vaccines and the rights of their citizens. This

violates the Plaintiff States’ sovereign right to enact and enforce their laws. It also violates the

Plaintiff States’ sovereign right to exercise their police power on matters such as compulsory

vaccination.

   158.        For example, the CMS vaccine mandate purports to preempt Missouri’s Exec.

Order No. 21-10 § 3 (Oct. 28, 2021) (Gov. Parson), which prohibits state agencies from penalizing

individuals or businesses for non-compliance with any federal COVID-19 vaccine mandate if the

“non-compliance is the result of an individual’s sincerely held religious belief or for medical

reasons.”

   159.        Similarly, the CMS vaccine mandate purports to preempt Arkansas statutes,

including Ark. Code § 20-7-143, which is currently in effect and prohibits public entities from

requiring vaccines, and Ark. Code § 11-5-118, which will go into effect in January and requires

private employers give employees a testing option in lieu of vaccination.

   160.        The mandate similarly conflicts with the laws of the State of Alaska. Under the

Alaska Constitution, the State cannot mandate vaccination without running afoul of Alaskans’

fundamental privacy right to make decisions about medical treatment. An individual’s freedom to

make medical decisions for themselves and their children is a fundamental liberty and privacy

right under Article I, Section 22 of the Alaska Constitution. Huffman v. State, 204 P.3d 339, 346


                                                39
 Case: 4:21-cv-01329-MTS Doc. #: 1 Filed: 11/10/21 Page: 40 of 58 PageID #: 40




(Alaska 2009). In Huffman, the Alaska Supreme Court held that although the State had a

compelling interest in preventing the spread of contagious diseases, it must use the least restrictive

means to achieve that interest. Id. at 347. In 2021, the State of Alaska enacted a statute that grants

its citizens the right to object to COVID-19 vaccines “based on religious, medical, or other

grounds,” and that forbids any person from “requir[ing] an individual to provide justification or

documentation to support the individual’s decision to decline a COVID-19 vaccine.” 2021 Alaska

Sess. Laws ch. 2, § 17 (emphasis added).

   161.        The Plaintiff States will suffer other pocketbook injuries. The CMS vaccine

mandate requires covered healthcare facilities to maintain documentation of their staff’s vacci-

nation status. 86 Fed. Reg. at 61,572. That documentation can consist of records from the “State

immunization information system.” Id. A predictable consequence of the CMS vaccine mandate

is thus to increase the number of people seeking documentation from the Plaintiff States regarding

vaccination status. See Dep’t of Commerce v. New York, 139 S. Ct. 2551, 2566 (2019).

   162.        The Plaintiff States have quasi-sovereign and parens patriae interests in protecting

the rights of their citizens and vindicating them in court. The Plaintiff States thus may sue to

challenge unlawful actions that “affect the [States’] public at large.” In re Debs, 158 U.S. 561,

584 (1895).

   163.        On information and belief, a natural and predictable consequence of the CMS

vaccine mandate is that numerous state and private healthcare workers may be fired, retire, or quit

their jobs. This injures the Plaintiff States’ quasi-sovereign and parens patriae interest in the

health and economic well-being of their citizens. This injury is especially acute because of the

already critical healthcare workforce shortage that the Plaintiff States are experiencing. An exodus




                                                 40
 Case: 4:21-cv-01329-MTS Doc. #: 1 Filed: 11/10/21 Page: 41 of 58 PageID #: 41




of healthcare workers further injures the Plaintiff States in that it will likely increase the burden on

the Plaintiff States’ unemployment insurance funds.

    164.        The Plaintiff States are injured because the CMS vaccine mandate discriminates

between citizens of the Plaintiff States who are vaccinated and those who are not by denying the

latter employment opportunities available to the former. The States have a quasi-sovereign and

parens patriae interests in protecting their citizens from discriminatory policies. See Alfred L.

Snapp & Son, Inc. v. Puerto Rico, ex rel., Barez, 458 U.S. 592, 609 (1982) (“This Court has had

too much experience with the political, social, and moral damage of discrimination not to

recognize that a State has a substantial interest in assuring its residents that it will act to protect

them from these evils.”).

    165.        Declaratory relief announcing that the CMS vaccine mandate is unlawful, an

injunction enjoining its enforcement, and an order vacating the IFC will remedy these harms to the

Plaintiff States’ interests.

                                      CLAIMS FOR RELIEF

          COUNT ONE – SUBSTANTIVE VIOLATION OF THE APA
   ARBITRARY AND CAPRICIOUS ACTION NOT IN ACCORDANCE WITH LAW

    166.        All preceding Paragraphs of this Complaint are hereby incorporated by reference.

    167.        HHS, which includes CMS, is a federal agency subject to the requirements of the

APA.

    168.        CMS’s adoption and promulgation of the vaccine mandate through an IFC was a

major agency action that could not lawfully be conducted without compliance with the APA.

    169.        Under the APA, a court must “hold unlawful and set aside agency action” that is

“arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with law.” 5 U.S.C.

§ 706(2)(A).

                                                  41
 Case: 4:21-cv-01329-MTS Doc. #: 1 Filed: 11/10/21 Page: 42 of 58 PageID #: 42




   170.        The APA forbids federal administrative agencies from relying on post hoc rational-

izations. Dep’t of Homeland Sec. v. Regents of the Univ. of California, 140 S. Ct. 1891, 1907,

1909 (2020) (holding that it is a “foundational principle of administrative law” to reject an

agency’s “impermissible post hoc rationalizations”) (quoting Michigan v. EPA, 135 S. Ct. 2699

(2015)).

   171.        CMS’s conclusion that the vaccine mandate is necessary was a post hoc rational-

ization because nearly two months before the IFC issued, President Biden instructed CMS to adopt

a rule mandating vaccination for healthcare workers.

   172.        The APA requires federal administrative agencies to engage in “reasoned decision-

making.” Allentown Mack Sales & Serv., Inc. v. NLRB, 522 U.S. 359, 379 (1998) (cleaned up).

Agency action is thus “lawful only if it rests on a consideration of the relevant factors” and

“important aspects of the problem.” Michigan v. EPA, 576 U.S. 743, 750-52 (2015) (cleaned up).

Failing to consider—or arbitrarily rejecting—important factors affecting the efficacy of a policy

renders agency action arbitrary and capricious.

   173.        CMS did not engage in reasoned decisionmaking in concluding that the vaccine

mandate was necessary to protect patient health and safety and that the mandate will not exacerbate

the endemic staff shortages that already exist for almost all categories of employees at almost all

kinds of health care providers.

   174.        CMS ignored or arbitrarily rejected important aspects of the issue and relevant

factors, including but not limited to the economic impacts on the healthcare industry, labor-force

disruptions in the healthcare industry, loss of jobs in the healthcare industry, costs to States and

their agencies, the current health risks of COVID-19, the admitted current limitations of COVID-

19 vaccines, the acknowledged benefits of natural immunity to COVID-19, and basic distinctions


                                                  42
 Case: 4:21-cv-01329-MTS Doc. #: 1 Filed: 11/10/21 Page: 43 of 58 PageID #: 43




among workers such as those with natural immunity to COVID-19 and those who work with

limited in-person contacts.

    175.        CMS ignored or arbitrarily rejected the adverse effects of resignations among

unvaccinated healthcare workers, which is a particularly important problem for an economy

already experiencing a critical labor shortage in healthcare, high levels of inflation, and a supply-

chain crisis.

    176.        CMS ignored or arbitrarily rejected the adverse effects of resignations among

unvaccinated healthcare workers, which is a particularly important problem facing rural

communities.

    177.        CMS ignored or arbitrarily rejected the adverse effects on States, which operate

state-run hospitals that participate in Medicare and Medicaid, and which incur costs associated

with enforcing the vaccine mandate, including enforcement through state surveyors.

    178.        CMS ignored or arbitrarily rejected the fact that the vaccine mandate will have a

disparate impact on minority and economically disadvantaged communities that have relatively

low rates of vaccination by inflicting disproportionately greater unemployment, job losses, loss of

healthcare services, and economic injury on those disadvantaged communities.

    179.        CMS ignored or arbitrarily rejected the interests of healthcare workers who—for

any number of varying personal reasons—do not want to take one of the currently authorized

COVID-19 vaccines.

    180.        CMS ignored that the vaccine mandate will cover religious healthcare institutions

and thus require them to terminate ministerial employees in violation of the First Amendment.

Our Lady of Guadalupe Sch. v. Morrissey-Berru, 140 S. Ct. 2049, 2061 (2020).




                                                 43
 Case: 4:21-cv-01329-MTS Doc. #: 1 Filed: 11/10/21 Page: 44 of 58 PageID #: 44




   181.        CMS ignored that its actions were contrary to law, as they were not authorized by

the Social Security Act, and were also unconstitutional, as the vaccine mandate violates the Tenth

Amendment by invading the States’ police power over compulsory vaccinations.

   182.        CMS acted arbitrarily and capriciously by refusing to provide a testing option for

employees who decline to take one of the available COVID-19 vaccines. This decision arbitrarily

and capriciously conflicts with OSHA’s recently issued ETS, which allows periodic testing as an

alternative to compulsory vaccines.

   183.        CMS acted arbitrarily and capriciously by refusing to provide an exemption to

persons with natural immunity to COVID-19 because natural immunity is at least as effective as

vaccination in preventing re-infection, transmission, and severe health outcomes.

   184.        CMS’s finding that the vaccine mandate is necessary was pretextual because the

mandate is a blatant attempt to federalize public health issues involving vaccination that belong

within the States’ police power.

   185.        CMS’s finding that the vaccine mandate is necessary was undermined by its delay

in adopting it. Vaccines have been authorized for almost a year, yet CMS did not impose this

mandate until two months after it was instructed to do so by the President as part of his “six-point

plan” to federalize public-health policy.

   186.        CMS acted arbitrarily and capriciously by ignoring or unreasonably rejecting the

important reliance interests of many institutions and individuals in the Plaintiff States. These

reliance interests are longstanding and deep-seated since the federal government has never before

tried to impose a vaccine requirement on healthcare workers. These specific reliance interests

include (1) the State’s reliance interests in their healthcare providers continuing to operate under

the existing rules without facing this new mandate that threatens to cause significant harm to the


                                                44
 Case: 4:21-cv-01329-MTS Doc. #: 1 Filed: 11/10/21 Page: 45 of 58 PageID #: 45




States’ citizens, particularly those in rural communities; (2) healthcare providers’ similar reliance

interests in staffing their facilities under the existing rules without facing this new mandate that

threatens their workforce, the services they provide, and their very existence; and (3) healthcare

workers’ reliance interests, especially the interests of minority workers in rural communities, in

selecting a job and building a career under the existing rules.

   187.        The broad scope of healthcare providers covered by the CMS vaccine mandate is

arbitrary and capricious. The mandate reaches many categories of healthcare facilities, such as

psychiatric residential treatment facilities for individual under 21 years of age, see 86 Fed. Reg. at

61576, that are not related to CMS’s asserted interest in protecting elderly and infirm patients from

the transmission of COVID-19. Indeed, CMS recognizes that “risk of death from infection from

an unvaccinated 75- to 84-year-old person is 320 times more likely than the risk for an 18- to 29-

years old person.” Id. at 61,610 n.247.

   188.        The broad scope of workers, volunteers, and contractors covered by the CMS

vaccine mandate is arbitrary and capricious. The mandate applies to “any individual that . . . has

the potential to have contact with anyone at the site of care.” Id. at 61,571 (emphasis added). This

includes “staff that primarily provide services remotely via telework” but “occasionally encounter

fellow staff . . . who will themselves enter a health care facility.” Id. at 61, 570. And the mandate

also covers a contracted “crew working on a construction project whose members use shared

facilities (restrooms, cafeteria, break rooms) during their breaks.” Id. at 61,571. The vast reach

of this mandate is far removed from the purported purpose of protecting patient safety.

   189.        For all these reasons, CMS’s promulgation of the vaccine mandate was arbitrary,

capricious, and unlawful under the APA, and the IFC should be set aside.




                                                 45
 Case: 4:21-cv-01329-MTS Doc. #: 1 Filed: 11/10/21 Page: 46 of 58 PageID #: 46




           COUNT TWO – SUBSTANTIVE VIOLATION OF THE APA
  ACTION IN EXCESS OF AUTHORITY AND NOT IN ACCORDANCE WITH LAW

   190.        All preceding Paragraphs of this Complaint are hereby incorporated by reference.

   191.        HHS, which includes CMS, is a federal agency subject to the requirements of the

APA.

   192.        CMS’s adoption and promulgation of the vaccine mandate through an IFC is a

major agency action that could not lawfully be conducted without compliance with the APA.

   193.        Under the APA, a court must “hold unlawful and set aside agency action” that is

“not in accordance with law” or “in excess of statutory . . . authority[] or limitations, or short of

statutory right.” 5 U.S.C. § 706(2)(A), (C).

   194.        The CMS vaccine mandate is contrary to law and in excess of statutory authority

because CMS’s statutory rulemaking power does not include the authority to impose a broad

vaccine mandate that Congress has not authorized.

   195.        None of the statutes that CMS cited in its IFC authorize the vaccine mandate. This

includes the two statutes that grant general rulemaking power to HHS—42 U.S.C. § 1302(a) and

42 U.S.C. § 1395hh(a)(1)—and the more than a dozen specific statutes discussed above that CMS

invoked in support of its mandate.

   196.        The CMS vaccine mandate is unprecedented—never before has it tried to use its

rulemaking authority to mandate vaccines. This confirms that CMS acted contrary to law and in

excess of statutory authority.

   197.        Reading CMS’s statutory authority to include the power to mandate vaccines

throughout an industry violates the Supreme Court’s major-questions doctrine. See Alabama Ass’n

of Realtors v. Dep’t of Health & Hum. Servs., 141 S. Ct. 2485, 2489 (2021) (per curiam) (“We

expect Congress to speak clearly when authorizing an agency to exercise powers of vast economic

                                                 46
 Case: 4:21-cv-01329-MTS Doc. #: 1 Filed: 11/10/21 Page: 47 of 58 PageID #: 47




and political significance.”) (cleaned up); Whitman v. Am. Trucking Ass’ns, 531 U.S. 457, 468

(2001) (Congress does not “hide elephants in mouseholes”).

   198.        Reading CMS’s statutory authority to include the power to mandate vaccines

throughout an industry violates the nondelegation doctrine. See Gundy v. United States, 139 S. Ct.

2116, 2123 (2019) (plurality op.) (Congress must provide an “intelligible principle to guide the

delegee’s use of discretion” in the exercise of delegated power).

   199.        Reading CMS’s statutory authority to include the power to mandate vaccines

throughout an industry violates the Spending Clause for the reasons explained below.

   200.        Reading CMS’s statutory authority to include the power to mandate vaccines

throughout an industry violates the Tenth Amendment by trampling on the traditional authority of

the States to regulate public health within their borders, including the topic of compulsory

vaccination. See Alabama Ass’n of Realtors, 141 S. Ct. at 2489 (“[Supreme Court] precedents

require Congress to enact exceedingly clear language if it wishes to significantly alter the balance

between federal and state power and the power of the Government over private property.”).

   201.        The CMS vaccine mandate is also contrary to law and in excess of statutory

authority because it conflicts with 42 U.S.C. § 1395.

   202.        42 U.S.C. § 1395 provides that nothing in Title 18 of the Social Security Act “shall

be construed to authorize any Federal officer or employee to exercise any supervision or control

over the practice of medicine or the manner in which medical services are provided, or over the

selection, tenure, or compensation of any officer or employee of any institution, agency, or person

providing health services; or to exercise any supervision or control over the administration or

operation of any such institution, agency, or person.”




                                                47
 Case: 4:21-cv-01329-MTS Doc. #: 1 Filed: 11/10/21 Page: 48 of 58 PageID #: 48




   203.        The CMS vaccine mandate violates 42 U.S.C. § 1395 because it authorizes federal

officials at CMS to exercise “supervision” and “control” over the “selection” and “tenure” of

employees (including state employees) and other persons “providing health services.” It does so

by prohibiting covered healthcare facilities from hiring unvaccinated employees and forcing those

facilities to terminate—and thus end the tenure of—unvaccinated employees.

   204.        The CMS vaccine mandate also violates that statute because it authorizes federal

officials at CMS to exercise “supervision” and “control” over the “administration” and “operation”

of institutions, agencies, and persons that provide health services (including state facilities and

employees). It does so by dictating the hiring and firing policies of these institutions concerning

unvaccinated workers.

   205.        For all these reasons, CMS’s promulgation of the vaccine mandate is contrary to

law and in excess of statutory authority, and the IFC should be set aside.

              COUNT THREE – PROCEDURAL VIOLATION OF THE APA
                  ACTION WITHOUT NOTICE AND COMMENT

   206.        All preceding Paragraphs of this Complaint are hereby incorporated by reference.

   207.        HHS, which includes CMS, is a federal agency subject to the requirements of the

APA.

   208.        CMS’s adoption and promulgation of the vaccine mandate through an IFC was a

major agency action that could not lawfully be conducted without compliance with the APA.

   209.        Under the APA, a court must “hold unlawful and set aside agency action” that is

“without observance of procedure required by law.” 5 U.S.C. § 706(2)(D).

   210.        The APA requires a federal agency to publish “notice of proposed rule making . . .

in the Federal Register” and then “give interested persons an opportunity to participate in the rule

making through submission of written data, views, or arguments.” 5 U.S.C. § 553(b)–(c).

                                                48
 Case: 4:21-cv-01329-MTS Doc. #: 1 Filed: 11/10/21 Page: 49 of 58 PageID #: 49




   211.        Prior to publishing the vaccine mandate, CMS did not publish notice of proposed

rulemaking in the Federal Register or give all interested members of the public an opportunity to

comment.

   212.        The APA’s notice and comment requirements do not apply if “good cause”

establishes that they “are impracticable, unnecessary, or contrary to the public interest” under the

circumstances. 5 U.S.C. § 553(b)(B).

   213.        Despite attempts to do so, CMS failed to demonstrate that “good cause” excuses its

failure to conduct notice-and-comment rulemaking.

   214.        For all these reasons, CMS’s promulgation of the vaccine mandate violated APA

procedural requirements, and the IFC should be set aside.

  COUNT FOUR – PROCEDURAL VIOLATION OF THE SOCIAL SECURITY ACT
               ACTION WITHOUT NOTICE AND COMMENT

   215.        All preceding Paragraphs of this Complaint are hereby incorporated by reference.

   216.        HHS, which includes CMS, is a subject to the procedural rulemaking requirements

in the Social Security Act.

   217.        Under the Social Security Act, CMS “shall provide for notice of [a] proposed

regulation in the Federal Register and a period of not less than 60 days for public comment

thereon.” 42 U.S.C. § 1395hh(b)(1).

   218.        Prior to publishing the vaccine mandate, CMS did not publish notice of proposed

rulemaking in the Federal Register or give all interested members of the public an opportunity to

comment.

   219.        The Social Security Act’s notice and comment requirements, like the APA’s similar

requirements, do not apply if “good cause” establishes that they “are impracticable, unnecessary,




                                                49
 Case: 4:21-cv-01329-MTS Doc. #: 1 Filed: 11/10/21 Page: 50 of 58 PageID #: 50




or contrary to the public interest” under the circumstances. 42 U.S.C. § 1395hh(b)(2)(C) (invoking

5 U.S.C. § 553(b)(B)).

    220.        Despite attempts to do so, CMS failed to demonstrate that “good cause” excuses its

failure to conduct notice-and-comment rulemaking.

    221.        For all these reasons, CMS’s promulgation of the vaccine mandate violated the

Social Security Act’s procedural requirements, and the IFC should be set aside.

                  COUNT FIVE – VIOLATION OF 42 U.S.C. § 1395z
           FAILURE TO CONSULT WITH APPROPRIATE STATE AGENCIES

    222.        All preceding Paragraphs of this Complaint are hereby incorporated by reference.

    223.        42 U.S.C. § 1395z provides that “the Secretary shall consult with appropriate State

agencies and recognized national listing or accrediting bodies, and may consult with appropriate

local agencies” when “carrying out his functions, relating to determination of conditions of

participation by providers of services, under subsections (e)(9), (f)(4), (j)(15), (o)(6), (cc)(2)(I),

and[] (dd)(2), and (mm)(1) of section 1395x of this title, or by ambulatory surgical centers under

section 1395k(a)(2)(F)(i) of this title.”

    224.        42 U.S.C. § 1395z applies to the CMS vaccine mandate because that mandate

purports to establish conditions of participation for hospitals under 42 U.S.C. § 1395x(e)(9), long-

term-care facilities (also known as skilled nursing facilities) under 42 U.S.C. § 1395x(j) and 42

U.S.C. § 1395i–3, Home Health Agencies (“HHAs”) under 42 U.S.C. § 1395x(o)(6),

Comprehensive Outpatient Rehabilitation Facilities (“CORFs”) under 42 U.S.C. § 1395x(cc)(2),

hospices under 42 U.S.C. § 1395x(dd)(2), Critical Access Hospitals (“CAHs”) under 42 U.S.C. §

1395x(mm)(1) and 42 U.S.C. § 1395i–4(e), and Ambulatory Surgical Centers (“ASCs”) under 42

U.S.C. § 1395k(a)(2)(F)(i).




                                                 50
 Case: 4:21-cv-01329-MTS Doc. #: 1 Filed: 11/10/21 Page: 51 of 58 PageID #: 51




   225.        CMS admitted that it did not comply with 42 U.S.C. § 1395z’s requirement that it

“consult with appropriate State agencies.” 86 Fed. Reg. at 61,567.

   226.        By failing to consult with appropriate States agencies before issuing the vaccine

mandate, CMS violated 42 U.S.C. § 1395z.

   227.        CMS’s “inten[t] to engage in consultations with appropriate State agencies . . .

following the issuance of th[e] rule,” 86 Fed. Reg. at 61,567, does not satisfy 42 U.S.C. § 1395z.

The statute plainly requires that the consultation with States occur before a rule is issued. The

statutory text demands the consultation when the Secretary is “carrying out his functions[] relating

to determination of conditions of participation by providers of services.” 42 U.S.C. § 1395z. The

Secretary, via CMS, already made his determination that the vaccine mandate should be a condi-

tion of participation by providers. It was at that time he was required to consult with the States.

Since he did not, the Secretary, acting through CMS, violated 42 U.S.C. § 1395z.

   228.        For all these reasons, CMS’s promulgation of the vaccine mandate violated 42

U.S.C. § 1395z, and the IFC should be set aside.

                   COUNT SIX – VIOLATION OF 42 U.S.C. § 1302
             FAILURE TO PREPARE REGULATORY IMPACT ANALYSIS

   229.        All preceding Paragraphs of this Complaint are hereby incorporated by reference.

   230.        42 U.S.C. § 1302(b)(1) provides that “[w]henever the Secretary [of HHS] publishes

a general notice of proposed rulemaking for any rule or regulation proposed under subchapter

XVIII, subchapter XIX, or part B of [title IX of the Social Security Act] that may have a significant

impact on the operations of a substantial number of small rural hospitals, the Secretary shall

prepare and make available for public comment an initial regulatory impact analysis.”

   231.        42 U.S.C. § 1302(b)(1) applies to the CMS vaccine mandate because CMS’s cited

statutory authority for its vaccine mandate falls under Titles 18 and 19 of the Social Security Act

                                                 51
 Case: 4:21-cv-01329-MTS Doc. #: 1 Filed: 11/10/21 Page: 52 of 58 PageID #: 52




and because the mandate will have a significant impact on the operations of a substantial number

of small rural hospitals.

   232.        The CMS vaccine mandate threatens to exacerbate already devastating shortages in

healthcare staffing by forcing small rural hospitals to terminate their unvaccinated workers. That,

in turn, will compel those hospitals to close certain divisions, cancel certain services, or shutter

altogether. These dire consequences stretch across rural America, and their collective force

required CMS to prepare a regulatory impact analysis.

   233.        For all these reasons, CMS’s promulgation of the vaccine mandate violated 42

U.S.C. § 1302(b)(1), and the IFC should be set aside.

 COUNT SEVEN – UNCONSTITUTIONAL EXERCISE OF THE SPENDING POWER

   234.        All preceding Paragraphs of this Complaint are hereby incorporated by reference.

   235.        The CMS vaccine mandate is an unconstitutional condition on the Plaintiff States’

receipt of federal funds.

   236.        “[I]f Congress intends to impose a condition on the grant of federal moneys, it must

do so unambiguously,” so “States [can] exercise their choice knowingly.” Pennhurst State Sch. &

Hosp. v. Halderman, 451 U.S. 1, 17 (1981).

   237.        Nothing in federal law gave States’ notice that forcing their employees at state-run

hospitals to get a COVID-19 vaccination or forcing their state surveyors to enforce the CMS vac-

cine mandate would be a condition of accepting federal funds.

   238.        “[C]onditions on federal funds must be related to the federal interest in particular

national projects or programs.” Van Wyhe v. Reisch, 581 F.3d 639, 650 (8th Cir. 2009).

   239.        The scope of the CMS vaccine mandate reaches far beyond a federal interest in

patient safety. Because the mandate applies to “any individual that . . . has the potential to have

contact with anyone at the site of care,” it covers a contracted “crew working on a construction
                                                52
 Case: 4:21-cv-01329-MTS Doc. #: 1 Filed: 11/10/21 Page: 53 of 58 PageID #: 53




project whose members use shared facilities (restrooms, cafeteria, break rooms) during their

breaks.” 86 Fed. Reg. at 61,571 (emphasis added). Moreover, the mandate also covers healthcare

providers, such as psychiatric residential treatment facilities for individual under 21 years of age,

that exclusively serve patients at very low risk from COVID-19. Id. at 61576. This vast reach of

the mandate is far removed from the supposed purpose of protecting patients whose healthcare

providers receive federal funding.

   240.        The federal government cannot use the spending power to “commandeer[] a State’s

. . . administrative apparatus for federal purposes,” NFIB v. Sebelius, 567 U.S. 519, 577 (2012), or

“conscript state [agencies] into the national bureaucratic army,” id. at 585.

   241.        The CMS vaccine mandate conscripts state agencies by forcing state-run hospitals

that fall under the mandate to either fire their unvaccinated employees or give up all their Medicare

and Medicaid funding.

   242.        The CMS vaccine mandate conscripts state agencies by forcing state surveyors to

enforce the mandate through verifying healthcare providers’ compliance with it. If States instruct

their surveyors not to enforce the CMS vaccine mandate, that will result in the disqualification of

Medicare- and Medicaid-certified providers and suppliers in their States. Forcing States to admini-

ster the CMS vaccine mandate or else jeopardize all Medicare and Medicaid funds flowing into

the States is a gun to the head that compels States to participate against their will.

   243.        For all these reasons, the CMS vaccine mandate was adopted pursuant to an

unconstitutional exercise of authority and must be invalidated.

      COUNT EIGHT – VIOLATION OF ANTI-COMMANDEERING DOCTRINE

   244.        All preceding Paragraphs of this Complaint are hereby incorporated by reference.

   245.        “[T]he Federal Government may not compel the States to implement, by legislation

or executive action, federal regulatory programs.” Printz v. United States, 521 U.S. 898, 925
                                                  53
 Case: 4:21-cv-01329-MTS Doc. #: 1 Filed: 11/10/21 Page: 54 of 58 PageID #: 54




(1997). Stated differently, the Constitution does not tolerate the federal government dragooning

state employees “into administering federal law.” Id. at 928.

    246.        The CMS vaccine mandate compels States to administer federal regulatory

programs by forcing state-run hospitals that fall under the mandate to either fire their unvaccinated

employees or give up all their Medicare and Medicaid funding.

    247.        The CMS vaccine mandate compels States to administer federal regulatory

programs by forcing state surveyors to enforce the mandate through verifying healthcare

providers’ compliance with it. If States instruct their surveyors not to enforce the CMS vaccine

mandate, that will result in the disqualification of Medicare- and Medicaid-certified providers and

suppliers in their States. Forcing States to administer the CMS vaccine mandate or else jeopardize

all Medicare and Medicaid funds flowing into the States is a gun to the head that compels States

to participate against their will.

    248.        For all these reasons, the CMS vaccine mandate was adopted pursuant to an

unconstitutional exercise of authority and must be invalidated.

     COUNT NINE – VIOLATION OF TENTH AMENDMENT AND FEDERALISM

    249.        All preceding Paragraphs of this Complaint are hereby incorporated by reference.

    250.        The structure of the U.S. Constitution and the text of the Tenth Amendment protect

federalism.

    251.        The powers not delegated by the Constitution to the federal government are

reserved to the States.

    252.        The CMS vaccine mandate seeks to exercise power far beyond what was delegated

to the federal government by constitutional mandate or congressional action.




                                                 54
 Case: 4:21-cv-01329-MTS Doc. #: 1 Filed: 11/10/21 Page: 55 of 58 PageID #: 55




   253.        Neither Article II of the U.S. Constitution nor any act of Congress authorizes CMS

to implement the vaccine mandate.

   254.        The power to impose vaccine mandates, to the extent that any such power exists, is

a power reserved to the States.

   255.        “[T]he police power of a state” includes, above all, the authority to adopt

regulations seeking to “protect the public health,” including the topic of mandatory vaccination.

Jacobson v. Massachusetts, 197 U.S. 11, 24–25 (1905). These matters “do not ordinarily concern

the national government.” Id. at 38.

   256.        By interfering with the traditional balance of power between the States and the

federal government, and by acting pursuant to ultra vires federal action, CMS violated the Tenth

Amendment and structural principles of federalism.

   257.        For all these reasons, the CMS vaccine mandate was adopted pursuant to an

unconstitutional exercise of authority and must be invalidated.

                                    PRAYER FOR RELIEF

Wherefore, the Plaintiff States ask this Court to issue an order and judgment:

A. Declaring, pursuant to 28 U.S.C. § 2201, that the CMS vaccine mandate is arbitrary and

   capricious and unlawful under the APA;

B. Declaring, pursuant to 28 U.S.C. § 2201, that the CMS vaccine mandate is contrary to law and

   in excess of statutory authority under the APA;

C. Declaring, pursuant to 28 U.S.C. § 2201, that the CMS vaccine mandate violates APA

   procedural requirements;

D. Declaring, pursuant to 28 U.S.C. § 2201, that the CMS vaccine mandate violates the Social

   Security Act’s procedural requirements;


                                                55
 Case: 4:21-cv-01329-MTS Doc. #: 1 Filed: 11/10/21 Page: 56 of 58 PageID #: 56




E. Declaring, pursuant to 28 U.S.C. § 2201, that the CMS vaccine mandate violates 42 U.S.C. §

   1395z because CMS failed to consult with appropriate state agencies;

F. Declaring, pursuant to 28 U.S.C. § 2201, that the CMS vaccine mandate violates 42 U.S.C. §

   1302(b)(1) because CMS failed to prepare a regulatory impact analysis;

G. Declaring, pursuant to 28 U.S.C. § 2201, that the CMS vaccine mandate violates the Spending

   Clause, the anti-commandeering doctrine, and the Tenth Amendment;

H. Setting aside the CMS vaccine mandate;

I. Preliminarily and permanently enjoining Defendants from imposing the CMS vaccine

   mandate;

J. Preliminarily and permanently enjoining Defendants from imposing the CMS vaccine mandate

   without first following the required notice-and-comment procedures of the APA and the Social

   Security Act; and

K. Granting any and all other relief the Court deems just and proper.

Dated: November 10, 2021                    Respectfully submitted,


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                                               56
 Case: 4:21-cv-01329-MTS Doc. #: 1 Filed: 11/10/21 Page: 57 of 58 PageID #: 57




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                                            57
 Case: 4:21-cv-01329-MTS Doc. #: 1 Filed: 11/10/21 Page: 58 of 58 PageID #: 58




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                                         58
